Case 3:17-cv-00072-NKM-JCH Document 557 Filed 09/17/19 Page 1 of 111 Pageid#: 6472
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   $XJXVW5RPHURZDVRQHRIDJURXSRIFRPPXQLW\PHPEHUVDQGVWXGHQWVZKRZHUH

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   VXUURXQGHGE\WRUFKEHDULQJQHR1D]LVDQGZKLWHVXSUHPDFLVWVDWWKH5RWXQGD2Q$XJXVW

   5RPHURSHDFHIXOO\SURWHVWHG'HIHQGDQWV¶SODQQHGHYHQW5RPHURZDVRQ)RXUWK6WUHHWZKHQ

   'HIHQGDQW)LHOGVLQWHQWLRQDOO\GURYHDFDULQWRWKHFURZGRISURWHVWRUVLQDQDFWRIGRPHVWLF

   WHUURULVP5RPHURZDVVWUXFNE\WKHYHKLFOHGULYHQE\)LHOGVDQGVXVWDLQHGPDQ\LQMXULHV7KH

   FDUNQRFNHGKHUXQFRQVFLRXVIUDFWXULQJKHUVNXOODQGOHDYLQJKHUZLWKDFRQFXVVLRQ7KHFDU

   DOVRIUDFWXUHGWKHURRWRIRQHWRRWKDQGOHIWVHYHUHFRQWXVLRQVDFURVVKHUERG\5RPHUR

   FRQWLQXHVWRVXIIHUYHUWLJRDQGGHELOLWDWLQJKHDGDFKHV,WLVXQFOHDUZKHQ5RPHUR¶VV\PSWRPV

   ZLOOVXEVLGH,QDGGLWLRQWRKHUSK\VLFDOLQMXULHV5RPHURDOVRVXIIHUHGVHYHUHHPRWLRQDOGLVWUHVV

   DVDUHVXOWRIWKHSODQQHGHYHQWDQGWHUURULVWDWWDFNRQ$XJXVWDQGKDVIHDUHGUHWXUQLQJWRWKH

   89$FDPSXV$VDUHVXOWRIKHUSK\VLFDODQGHPRWLRQDOWUDXPD5RPHURKDVDOUHDG\PLVVHGD

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   FULVLVFRXQVHORUIRUWKHKRPHOHVVDQGPHQWDOO\LOO2Q$XJXVW$OYDUDGRSHDFHIXOO\SURWHVWHG

   'HIHQGDQWV¶SODQQHGHYHQW6KHZDVVWUXFNE\'HIHQGDQW)LHOGVZKHQKHGURYHKLVFDUGRZQ

   )RXUWK6WUHHWLQWRDFURZGRISURWHVWRUV6KHQDUURZO\PLVVHGEHLQJKLWDJDLQE\)LHOGVZKHQKH

   GURYHKLVFDUEDFNZDUGVXSWKHVWUHHW7KHFDUNQRFNHG$OYDUDGRWRWKHJURXQGFDXVLQJKHUWR

   VXIIHUVHULRXVLQMXULHVLQFOXGLQJDFRQFXVVLRQDQGVHYHUHFRQWXVLRQVRQKHUOHJV$OYDUDGR

   FRQWLQXHVWRH[SHULHQFHVLGHHIIHFWVRIWKHFRQFXVVLRQLQFOXGLQJFRQIXVLRQIRUJHWIXOQHVVDQG

   GLIILFXOW\SURFHVVLQJQRUPDOFRQYHUVDWLRQV$OYDUDGRKDVDOVRVXIIHUHGVHYHUHHPRWLRQDOGLVWUHVV

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   ELRORJLVWIRUDODQGVFDSHDUFKLWHFWXUHFRPSDQ\2Q$XJXVW%DNHUREVHUYHGWKH8QLWHWKH

   5LJKWHYHQW+HZDVZDONLQJRQ)RXUWK6WUHHWZLWKDJURXSRIFRXQWHUSURWHVWRUVDIWHUWKHHYHQW

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   ZKHQ'HIHQGDQW)LHOGVGURYHLQWRWKHFURZG)LHOGVUDPPHG%DNHUZLWKKLVFDUKXUOLQJ%DNHU

   WKURXJKWKHDLU%DNHUVXIIHUHGVHYHUHLQMXULHVIURPWKHDWWDFNLQFOXGLQJDFRQFXVVLRQWRUQ

   OLJDPHQWLQKLVOHIWZULVWDQGDWRUQODEUXPLQKLVULJKWKLS+HKDGWRXQGHUJRPDMRUVXUJHU\

   PDQ\KRVSLWDOYLVLWVDQGPHGLFDOWUHDWPHQWVDQGSK\VLFDOWKHUDS\DPRQJRWKHUWKLQJVEHFDXVH

   RIKLVLQMXULHV+HKDGWRPLVVPRUHWKDQDPRQWKRIZRUNZKLOHKHUHFRYHUHGDQGKHVWLOO

   FDQQRWOLIWKHDY\ZHLJKWVUXQMXPSRUSOD\FRPSHWLWLYHWHDPVSRUWVRUVWD\VWLOORUVWDQGIRU

   ORQJSHULRGVZLWKRXWSDLQ+HZLOOOLNHO\QHHGDKLSUHSODFHPHQWDQGPD\QHYHUIXOO\UHJDLQKLV

   VWUHQJWK+HVXIIHUHGVHYHUHHPRWLRQDOLQMXULHVDQGFRQWLQXHVWRVXIIHUVHYHUHHPRWLRQDOGLVWUHVV

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   $UHVLGHQWRI&KDUORWWHVYLOOH9LUJLQLD.HVVOHUXVHVWKHKDQGOH³0DG'LPHQVLRQ´RQ'LVFRUGDQG

   #7KHB0DG'LPHQVLRQRQ7ZLWWHU7RJHWKHUZLWK'HIHQGDQW0RVOH\.HVVOHUOHGWKHRUJDQL]LQJ

   HIIRUWVIRUWKH8QLWHWKH5LJKW³UDOO\´LQ&KDUORWWHVYLOOH.HVVOHULVDOVRWKHSUHVLGHQWDQG

   IRXQGHURI8QLW\DQG6HFXULW\IRU$PHULFDDJUDVVURRWVRUJDQL]DWLRQWKDWFODLPVLWLVGHGLFDWHG

   WR³GHIHQGLQJ:HVWHUQFLYLOL]DWLRQ´DQGLVDFRQWULEXWRUWRZHEVLWHVOLNH9'DUHFRPD

   [HQRSKRELFQDWLYLVWSXEOLFDWLRQDQGWKH'DLO\&DOOHUDFRQVHUYDWLYHQHZVRXWOHW.HVVOHUZDV

   WKHOHDGRUJDQL]HUIRUWKH8QLWHWKH5LJKW³UDOO\´DQGZDVRQHRIWKHQDPHVIHDWXUHGRQD

   SURPRWLRQDOSRVWHUIRUWKH³UDOO\´,Q-DQXDU\.HVVOHUDWWDFNHGDPDQLQGRZQWRZQ

   &KDUORWWHVYLOOHZKLOHFROOHFWLQJVLJQDWXUHVIRUKLVSHWLWLRQWRUHPRYHWKH$IULFDQ$PHULFDQYLFH

   PD\RU:HV%HOODP\IURPWKH&KDUORWWHVYLOOH&LW\&RXQFLO,Q$SULO.HVVOHUSOHDGHGJXLOW\WR

   DPLVGHPHDQRUFKDUJHIRUWKHDVVDXOWDQGZDVWKHQFKDUJHGZLWKIHORQ\SHUMXU\IRUO\LQJWRWKH

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   DWWHQGHG89$LVWKHKHDGRIWKHZKLWHQDWLRQDOLVW³WKLQNWDQN´1DWLRQDO3ROLF\,QVWLWXWH,Q

   6SHQFHUFUHDWHGDQRQOLQHSXEOLFDWLRQFDOOHGDOWULJKWFRP6SHQFHURUJDQL]HVKLVIROORZHUV

   WRDFWLQIXUWKHUDQFHRIKLVLGHRORJ\FDOOLQJIRUDQ³HWKQLFFOHDQVLQJ´6SHQFHUSODQQHGDQGOHG

   WKHYLROHQWWRUFKOLJKWUDOO\DWKLVDOPDPDWHURQ)ULGD\HYHQLQJ6SHQFHUDFWLYHO\SURPRWHGWKH

   8QLWHWKH5LJKW³UDOO\´RQ6DWXUGD\WRKLVQXPHURXVIROORZHUVRQVRFLDOPHGLDDQGHQFRXUDJHG

   DQGLQFLWHGLQWLPLGDWLRQDQGYLROHQFHEDVHGRQUDFLDOUHOLJLRXVDQGHWKQLFDQLPRVLW\

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   QDWLRQDOLVWDQGDVHOISURFODLPHGIDVFLVW+HKRVWV³5DGLFDO$JHQGD´DSRGFDVWDQG<RX7XEH

   VKRZVWUHDPHGOLYHPXOWLSOHWLPHVDZHHNDQGUXQVWKHZHEVLWHFKULVWRSKHUFDQWZHOOFRP

   &DQWZHOOKDVVWDWHGWKDWRQFHKH³UHDOL]HGWKDW>-HZLVKSHRSOH@ZHUHUHVSRQVLEOHIRUWKH

   FRPPXQLVP´KHGHFLGHG³OHW¶VIXFNLQJJDVWKHNLNHVDQGKDYHDUDFHZDU´+HKDVZULWWHQ³,

   WKLQNFKHPLFDODQGELRORJLFDOZHDSRQVFDQGRDJUHDWGHDORIJRRGIRUPDQNLQG5HOHDVLQJ

   QHUYHJDVRUVRPHNLQGRIOHWKDOYLUXVLQWRDOHIWZLQJSURWHVWFRXOGSUHSDUHWKHERGLHVIRU

   SK\VLFDOUHPRYDOZLWKRXWPDNLQJDELJVFHQHIRUWKHFDPHUDVRUGHVWUR\LQJDQ\WKLQJRIYDOXH´

   ,QFRQQHFWLRQZLWKWKH8QLWHWKH5LJKW³UDOO\´LQ&KDUORWWHVYLOOHRQ$XJXVWDQG&DQWZHOO

   ZDVFKDUJHGZLWKWZRIHORQ\FRXQWVRILOOHJDOXVHRIWHDUJDVDQGRQHIHORQ\FRXQWRIPDOLFLRXV

   ERG\LQMXU\E\PHDQVRIDFDXVWLFVXEVWDQFH+HZDVLQGLFWHGRQ'HFHPEHURQDIHORQ\FKDUJH

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   9DQJXDUG$PHULFD0RWLYDWHGE\UDFLDOUHOLJLRXVDQGHWKQLFDQLPRVLW\DQGLQIXUWKHUDQFHRI

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                     'HIHQGDQW9DQJXDUG$PHULFDLVDQXQLQFRUSRUDWHGDVVRFLDWLRQSXUVXDQWWR

 9LUJLQLD&RGH0HPEHUVRI9DQJXDUG$PHULFDYROXQWDULO\MRLQIRUWKHFRPPRQ

 SXUSRVHRISURPRWLQJZKLWHQDWLRQDOLVPDQGEHOLHYHWKDWSHRSOHZLWK³ZKLWHEORRG´KDYHD

 VSHFLDOERQGZLWK³$PHULFDQVRLO´,WZDVIRUPHGLQ&DOLIRUQLDLQDQGLVFRPSULVHGRI

 WZHOYHFKDSWHUVDFURVVWKHFRXQWU\7KHJURXS¶VZHEVLWHVWDWHVWKDWWRMRLQWKHJURXSDSHUVRQ

 PXVWEH³RIDWOHDVWZKLWH(XURSHDQKHULWDJH´'HIHQGDQW)LHOGVLVDPHPEHURI'HIHQGDQW

 9DQJXDUG$PHULFDKHZRUHWKHLUXQLIRUPDQGFDUULHGD9DQJXDUG$PHULFDVKLHOGDWWKH8QLWH

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 'DLO\6WRUPHU²DQRUJDQL]DWLRQWKDWRSHUDWHVWKURXJKDZHEVLWHWKDW$QJOLQSXEOLVKHV'DLO\

 6WRUPHUKDVFDOOHGLWVZHEVLWHWKH³ZRUOG¶VPRVWJHQRFLGDO´ZHEVLWH'DLO\6WRUPHUZDVQDPHG

 DIWHU'HU6WUPHUD1D]LSURSDJDQGDWDEORLGNQRZQIRUYLUXOHQWO\DQWL6HPLWLFFDULFDWXUHVDQG

 SXEOLVKHGE\-XOLXV6WUHLFKHUZKRZDVODWHUFRQYLFWHGRIFULPHVDJDLQVWKXPDQLW\DW1XUHPEHUJ

 8QWLOUHFHQWO\'DLO\6WRUPHUKDGDZHEVLWHDWZZZGDLO\VWRUPHUFRP$QJOLQDQGKLVDVVRFLDWHV

 DW'DLO\6WRUPHULQFOXGLQJ'HIHQGDQW5REHUW³$]]PDGRU´5D\XVH'DLO\6WRUPHU³DVD

 KDUGFRUHIURQWIRUWKHFRQYHUVLRQRIPDVVHVLQWRDSURZKLWH$QWL6HPLWLFLGHRORJ\´WR³VHOO>@

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 YLVLWHGKDWHVLWHRQWKH,QWHUQHWLQLQFOXGHVVHFWLRQVHQWLWOHG³-HZLVK3UREOHP´DQG³5DFH

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 ZHE´WRUEURZVHU2Q$QJOLQ¶VRUGHUVDQGXQGHUKLVFRQWLQXLQJVXSHUYLVLRQ6WRUPHUVKDYH

 IRUPHGORFDOFKDSWHUVFDOOHG³6WRUPHU%RRN&OXEV´DVSDUWRI$QJOLQ¶VSODQWR³EXLOGDQ

 LQYLVLEOHHPSLUH´$QJOLQXVHVWKH'DLO\6WRUPHUIRUXPWRDFWLYHO\PRQLWRUWKH%RRN&OXEVDQG

 XVHVWKHZHEVLWHWRLVVXHRUGHUVRQKRZWRRUJDQL]H³2IILFLDO2SHUDWLRQV´RI6WRUPHU%RRN

 &OXEVLQFOXGHILUHDUPVWUDLQLQJRUJDQL]LQJIRUSURWHVWVDQGEHLQJUHDG\WRUHVSRQGWR

 ³FKDOOHQJHV´LVVXHGE\$QJOLQ'DLO\6WRUPHUHVWDEOLVKHG³PHHWXSV´DQGFKDWURRPVWKDWFR

 FRQVSLUDWRUVDQGDWWHQGHHVXVHGWKURXJKRXWWKH$XJXVWDQGZHHNHQGWRFRRUGLQDWHWKHLU

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 DQGSUHSDUHGWKHPWRFRPPLWUDFLDOO\PRWLYDWHGYLROHQWDFWVLQ&KDUORWWHVYLOOH$OWKRXJK$QJOLQ

 GLGQRWDWWHQGWKHUDOO\KLPVHOIEHFDXVHKHLVFXUUHQWO\LQKLGLQJWRHYDGHVHUYLFHLQFRQQHFWLRQ

 ZLWKDVHSDUDWHODZVXLWUHODWLQJWRHYHQWVLQ:KLWHILVK0RQWDQD$QJOLQRUFKHVWUDWHGWKH

 PRYHPHQWVRI'DLO\6WRUPHUIROORZHUVDQGLQFLWHGWKHPWRYLROHQFHRQDOLYHIHHGWKDWVWUHDPHG

 FRQWHPSRUDQHRXVO\ZLWKWKHHYHQWVDVWKH\RFFXUUHGRQ$XJXVWDQGLQ&KDUORWWHVYLOOH

 0RUHRYHU$QJOLQXVHVWKH'DLO\6WRUPHUWRHQWLFHKLVIROORZHUVWRKDUDVVDQGLQWLPLGDWH

 ³-HZIHPLQLVWHWF´LQGLYLGXDOVE\PDQGDWLQJLQLWV³VW\OHJXLGH´WKDWWKHDXWKRUVDOZD\VLQFOXGH

 WKHWDUJHWHGLQGLYLGXDOV¶VRFLDOPHGLDDFFRXQWVEHFDXVH³>Z@H¶YHJRWWHQSUHVVDWWHQWLRQEHIRUH

 ZKHQ,GLGQ¶WHYHQFDOOIRUVRPHRQHWREHWUROOHGEXWMXVWOLQNHGWKHPDQGSHRSOHZHQWDQGGLG

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 FRUSRUDWLRQUHJLVWHUHGE\'HIHQGDQW$QJOLQWKDWRSHUDWHVWKH'DLO\6WRUPHU¶VZHEVLWH

 'HIHQGDQW$QJOLQKDVHQFRXUDJHGUHDGHUVWRILQDQFLDOO\VXSSRUWWKH'DLO\6WRUPHUE\VHQGLQJ

 GRQDWLRQVXVLQJELWFRLQFKHFNVDQGFUHGLWFDUGVQRWLQJWKDW³LWZRQ¶WVD\µ'DLO\6WRUPHU¶RQ

 \RXUFUHGLWFDUGELOOEXWZLOOLQVWHDGVD\µ0RRQEDVH+ROGLQJV¶ZKLFKHLWKHUVRXQGVOLNHDKREE\

 VKRSRUDPXOWLOHYHOPDUNHWLQJVFKHPHUXQE\UHSWRLGV$Q\ZD\LWORRNVLQQRFXRXVRQ\RXU

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 DQGVHUYHGDVDQDJHQWRI'DLO\6WRUPHULQRUJDQL]LQJWKH8QLWHWKH5LJKWHYHQWV+HLVWKH

 OHDGHURIWKH³'DOODV)RUW:RUWK6WRUPHU%RRN&OXE´ZKLFKLVRQHRIPDQ\ORFDO'DLO\6WRUPHU

 JURXSVDFURVVWKHFRXQWU\,QKLVDUWLFOHVSXEOLVKHGRQ'DLO\6WRUPHU¶VZHEVLWH5D\HQFRXUDJHG

 H[WUHPLVWVWRDWWHQGWKHHYHQWVLQ&KDUORWWHVYLOOHRQ$XJXVWDQGDQGLQFLWHGWKHPWR

 YLROHQFH5D\DWWHQGHGWKH³UDOO\´KLPVHOIDQGKDGDSODQQLQJPHHWLQJZLWKFHUWDLQRWKHU

 'HIHQGDQWVLQ&KDUORWWHVYLOOHRQ$XJXVW

                     'HIHQGDQW1DWKDQ'DPLJRDUHVLGHQWRI&DOLIRUQLDLVDZKLWHQDWLRQDOLVWDQGWKH

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 DUUHVWHGRQ$SULOIRUDVVDXOWLQJDZRPDQDWWKH³%DWWOHIRU%HUNHOH\´UDOO\ZKLFK

 'DPLJRGHVFULEHGDVDWHVWUXQIRUWKH³UDOOLHV´LQ&KDUORWWHVYLOOH'HIHQGDQW6SHQFHUKDVVWDWHG

 WKDW'DPLJRDQGKLVJURXS,GHQWLW\(YURSDWRRNWKHOHDGLQRUJDQL]LQJZKLWHVXSUHPDFLVW

 SDUWLFLSDWLRQDPRQJSHRSOHIURPRXWVLGH&KDUORWWHVYLOOHLQFRQQHFWLRQZLWKWKHHYHQWVRQ$XJXVW

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                     'HIHQGDQW(OL0RVOH\ZKRLVDUHVLGHQWRI3HQQV\OYDQLDLVDZKLWHVXSUHPDFLVW

 DQGZDVWKHOHDGHURI,GHQWLW\(YURSDIURP$XJXVWWR1RYHPEHU+HLVDOVRDFRIRXQGHU

 ZLWK'HIHQGDQW5LFKDUG6SHQFHURI2SHUDWLRQ+RPHODQGDQHZRUJDQL]DWLRQWKDWDLPVWRWDNH

 ZKLWHQDWLRQDOLVWDFWLYLVP³WRWKHQH[WOHYHO´+HKDVGHVFULEHGKLPVHOIDVWKH³FRPPDQGVROGLHU

 PDMRURIWKHµDOWULJKW¶´DQGDVWKHRUJDQL]HURIWKH8QLWHWKH5LJKW³UDOO\´2QFHUWDLQVRFLDO

 PHGLDQHWZRUNV0RVOH\KDVXVHGWKHKDQGOHV#1RW(OL0RVOH\DQG#7KDW(OL0RVOH\0RVOH\

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 SURPRWLQJD³ZKLWH$PHULFDQLGHQWLW\´,WZDVIRXQGHGLQ0DUFKE\'HIHQGDQW'DPLJR

 DQGRQ$XJXVW'HIHQGDQW0RVOH\VXFFHHGHGKLPDV³FKLHIH[HFXWLYHRIILFHU´7KH

 JURXSLVFXUUHQWO\OHGE\3DWULFN&DVH\,GHQWLW\(YURSD¶VIRUPHU&KLHIRI6WDII7KHJURXS

 DGRSWHGDQGSRSXODUL]HGWKHZKLWHVXSUHPDFLVWVORJDQ³<RXZLOOQRWUHSODFHXV´WKDW'HIHQGDQWV

 DQGFRFRQVSLUDWRUVFKDQWHGDVWKH\PDUFKHGRQ$XJXVWDQG

                     'HIHQGDQW0DWWKHZ+HLPEDFKDUHVLGHQWRI,QGLDQDLVWKHFKDLUPDQRI

 'HIHQGDQW7UDGLWLRQDOLVW:RUNHU3DUW\ ³7:3´ ,Q+HLPEDFKDQG'HIHQGDQW0DWWKHZ

 3DUURWWIRXQGHGWKHQHR1D]L7UDGLWLRQDOLVW<RXWK1HWZRUNDZKLWHQDWLRQDOLVWJURXSWKDW

 SURPRWHVDUDFLVWLQWHUSUHWDWLRQRI&KULVWLDQLW\$ORQJVLGH'HIHQGDQW-HII6FKRHSWKHOHDGHURI

 1DWLRQDO6RFLDOLVW0RYHPHQW ³160´ +HLPEDFKFRFKDLUVWKH1DWLRQDOLVW)URQWDQXPEUHOOD

 RUJDQL]DWLRQRIDSSUR[LPDWHO\WZHQW\ZKLWHVXSUHPDFLVWRUJDQL]DWLRQVLQFOXGLQJUDFLVWVNLQKHDG

 FUHZV.ODQJURXSVDQGQHR1D]LJURXSV+HKDVVDLG³2IFRXUVHZHORRNXSWRPHQOLNH$GROI

 +LWOHUDVLQVSLUDWLRQVIRUZKDWZHFDQDFKLHYH´+HLPEDFKRUJDQL]HGDQGOHGPDUFKHUVIURP

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 7UDGLWLRQDOLVW<RXWK1HWZRUNDORQJZLWKKLVVWHSVRQLQODZ'HIHQGDQW+HLPEDFK+HLV

 FXUUHQWO\WKH&KLHI,QIRUPDWLRQ2IILFHUDQG'LUHFWRURI'HIHQGDQW7:32Q$XJXVW3DUURWW

 UHIXVHGWROHDYH(PDQFLSDWLRQ3DUNDIWHUDVWDWHRIHPHUJHQF\ZDVGHFODUHGDQGZDVDUUHVWHGE\

 WKHSROLFHIRUIDLOLQJWRGLVSHUVH3DUURWWZURWHDQDFFRXQWRIKLVH[SHULHQFHVDWWKH8QLWHWKH

 5LJKW³UDOO\´LQ³&DWFKHULQWKH5HLFK0\$FFRXQWRIP\([SHULHQFHVLQ&KDUORWWHVYLOOH´,QLW

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 SXUSRVHRISURPRWLQJDQWL6HPLWLVP$FFRUGLQJWR'HIHQGDQW+HLPEDFKWKH7:3KDVWKUHH

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 -HZZKRIDLOVWRH[SOLFLWO\DQGFRQVLVWHQWO\RSSRVHWKH-HZDQGZKRSUHDFKHVFOHYHUQHVVRU

 QXDQFHRQWKH-4>-HZLVK4XHVWLRQ@´0HPEHUVRIWKH7:3SURPSWHGDWWHQGHGDQGIXOO\

 SDUWLFLSDWHGLQWKHHYHQWVLQ&KDUORWWHVYLOOHRQ$XJXVWDQGLQFOXGLQJE\HQJDJLQJLQ

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 WDVNHGZLWKDGYDQFLQJVRXWKHUQVHFHVVLRQE\DQ\PHDQVQHFHVVDU\,Q0D\+LOOSXEOLVKHG

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 DGYDQWDJHWKH\KDGEHWWHUSUHSDUHWKHPVHOYHVIRUDYHU\UXGHDZDNHQLQJ´+LOOZKRVHQDPH

 ZDVIHDWXUHGRQDSURPRWLRQDOSRVWHUIRUWKH³UDOO\´HQFRXUDJHG/HDJXHRIWKH6RXWKIROORZHUV

 WRDWWHQGE\XUJLQJWKHPQRWWR³PLVVRXWRQWKHIXQ´LQGHDOLQJZLWKFRXQWHUSURWHVWRUV²WKHLU

 SXUSRUWHGHQHPLHV2Q$XJXVW/HDJXHRIWKH6RXWKOHGE\+LOOPDUFKHGWKURXJK

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 HYHU\ZKHUHWKHFKDRVZDV´7XEEVSUHYLRXVO\VHUYHGDIRXU\HDUSULVRQVHQWHQFHIRUSODQQLQJWR

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 1XPHURXVPHPEHUVRIWKH/HDJXHRIWKH6RXWKSDUWLFLSDWHGLQ6DWXUGD\¶VYLROHQWHYHQWVWRJHWKHU

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 PDQ\UHJLRQDOIDFWLRQVRIWKH.X.OX[.ODQ6FKRHSKDVVDLGWKDWLIKHFRXOGPHHW$GROI+LWOHU

 WRGD\KHZRXOGVD\³7KDQN\RXIRU\RXUVDFULILFHDQG,KRSHZHKDYHKRQRUHG\RXLQVRPH

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 FODLPWREHOLHXWHQDQWVVHUJHDQWVRURWKHUPLOLWDU\UDQNV'HIHQGDQW6FKRHSWKHKHDGRI160

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 PDLQWDLQVDEXVLQHVVWKURXJK1605HFRUGV//&VHOOLQJQHR1D]LIODJVVZDVWLNDVJHDUHWF

 0HPEHUVRI160SDUWLFLSDWHGLQWKHYLROHQFHWKDWWRRNSODFHLQ&KDUORWWHVYLOOHRQ$XJXVW

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 QDWLRQDOLVPDQGZKLWHVXSUHPDF\)RUPHUO\NQRZQDVWKH$U\DQ1DWLRQDO$OOLDQFH1DWLRQDOLVW

 )URQWLVDQXPEUHOODRUJDQL]DWLRQFRQVLVWLQJRIZKLWHVXSUHPDFLVWDQGZKLWHQDWLRQDOLVWJURXSV

 LQFOXGLQJQHR1D]LDQG.ODQJURXSV7KH1DWLRQDOLVW)URQWLVOHGE\'HIHQGDQWV6FKRHS

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 HQJDJHGLQDFWVRIYLROHQFHDQGLQWLPLGDWHGUHVLGHQWVRI&KDUORWWHVYLOOHRQ$XJXVWDQG

                     'HIHQGDQW$XJXVWXV6RO,QYLFWXVIRUPHUO\$XVWLQ0LWFKHOO*LOOHVSLHDUHVLGHQW

 RI)ORULGDLVDZKLWHQDWLRQDOLVWDZKLWHVXSUHPDFLVWDQGDPHPEHURI'HIHQGDQW)UDWHUQDO

 2UGHURI$OW.QLJKWV ³)2$.´ WKH³PLOLWDU\ZLQJ´RIWKH3URXG%R\VDJURXSGHVFULEHGDVD

 ³µSUR:HVWHUQIUDWHUQDORUJDQL]DWLRQ¶IRUPHQZKRµUHIXVHWRDSRORJL]HIRUFUHDWLQJWKHPRGHUQ

 ZRUOG¶´+HKDVVDLGWKDWDYLROHQWVHFRQG&LYLO:DULVQHFHVVDU\LQRUGHUWRSUHVHUYH³:HVWHUQ

 FLYLOL]DWLRQ´2Q$XJXVW,QYLFWXVDQQRXQFHGKLVFDQGLGDF\DVD5HSXEOLFDQIRUWKH

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 WKH³UDOO\´GUDIWHGWKH³&KDUORWWHVYLOOHVWDWHPHQW´DORQJZLWK6SHQFHUDQGRWKHUVDQG

 SDUWLFLSDWHGLQWKHWRUFKOLWUDOO\RQ$XJXVWZLWKFR'HIHQGDQWV

                     'HIHQGDQW)UDWHUQDO2UGHURIWKH$OW.QLJKWV ³)2$.´ LVDQXQLQFRUSRUDWHG

 DVVRFLDWLRQSXUVXDQWWR9LUJLQLD&RGHDQGLVVHOIGHVFULEHGDVWKH³WDFWLFDOGHIHQVLYH

 DUP´RI3URXG%R\VIRUPHGWRIRFXVRQ³VWUHHWDFWLYLVPSUHSDUDWLRQGHIHQVHDQG

 FRQIURQWDWLRQ´'HIHQGDQW,QYLFWXVLVVHFRQGLQFRPPDQGDW)2$.DQG)2$.DWWHQGHGWKH

 ³UDOO\´LQSDUWWRSURYLGHVHFXULW\WRKLP

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 DQXQLQFRUSRUDWHGDVVRFLDWLRQSXUVXDQWWR9LUJLQLD&RGH0HPEHUVRI/R\DO:KLWH

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 KLVFDUDQGUXQQLQJRYHUQLQHFRPPXQLVWDQWLIDVFLVWNLOOLQJRQHQLJJHUORYHUQDPHG+HDWKHU

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 PRWLYDWHGYLROHQFHWKUHDWVLQWLPLGDWLRQDQGKDUDVVPHQW7KHHYHQWVLQ&KDUORWWHVYLOOHDUHSDUW

 RI'HIHQGDQWV¶UHFHQWFRQFHUWHGHIIRUWVWRPRYHIURPWKHVKDGRZVRIDQRQ\PRXVGLVDVVRFLDWHG

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                                   6490



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                         :KHQWKH-HZVWRRNRYHURXUVRFLHW\DQGWXUQHGLWLQWRDNLNHGRXW
                         OLYLQJKHOOWKH\PDUNHGWKHLUDFKLHYHPHQWE\GHFODULQJD³6XPPHU
                         RI /RYH´    7KH\ WRRN HYHU\WKLQJ DZD\ IURP XV  7KDW DJH LV
                         HQGLQJQRZ:HDUHWDNLQJEDFNRXUELUWKULJKW7KLVVXPPHUD
                         %ODFN6XQZLOOSDVVRYHU$PHULFD,DPGHFODULQJWKHVXPPHU
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 PHDQVWRVWLUXSYLROHQFHDQGKDUDVVWKUHDWHQDQGLQWLPLGDWHWKHUHVLGHQWVRI&KDUORWWHVYLOOH

                     )RUH[DPSOH'HIHQGDQWV.HVVOHUDQG6SHQFHULQYLWHGZKLWHVXSUHPDFLVWJURXSV

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                                   6491



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                              PHWDOVFXOSWXUHDWRSDSHGHVWDOLQDVPDOO6RXWKHUQ&LW\,WZDV
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                              RIRXUOLYHVDQGRQFHDJDLQVKRXWHGRXUGHDIHQLQJFKDQWVVKDNLQJ
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 HMDFXODWHZLWKLQD\DUGRIDZRPDQ 7KHWKLUGGHJUHHLQYROYHVJHWWLQJDWDWWRRDQGWKHIRXUWKGHJUHHUHTXLUHVD
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 VKRXWLQJ³ZKLWHSRZHU´DQGFDUU\LQJVLJQVWKDWUHDG³-HZVDUH6DWDQ¶VFKLOGUHQ´6RPHZRUH

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                     3ODLQWLII5RPHURSHDFHIXOO\SURWHVWHGDWWKH-XO\.ODQPDUFK)ROORZLQJ

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 ZHUHPRUHWKUHDWHQLQJ

                     .HVVOHUDWWHQGHGDQGOLYHVWUHDPHGWKH.ODQPDUFKRQ7ZLWWHU+HVKDUHGDWZHHW

 ZLWKKLVIROORZHUV³8QLWH7KH5LJKWDJDLQVWWKHVHVKLWOLEVLQ&KDUORWWHVYLOOHRQ$XJXVWWKLV

 JRLQJWREHVRPXFKIXQ<RX¶YHJRWDPRQWKWREHWKHUH´

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                ,QWLPLGDWHDQG+DUDVV&KDUORWWHVYLOOH5HVLGHQWVRQ$XJXVWDQG

                         7KHDJHRIXOWUDYLROHQFHLVFRPLQJ,GRQ¶WNQRZZKHQEXW,GR
                         NQRZWKDWPRVWRI\RXZLOOOLYHWRVHHLW
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                         7KHUHLVUDSLGO\DSSURDFKLQJDWLPHZKHQLQHYHU\ZKLWH:HVWHUQ
                         FLW\FRUSVHVZLOOEHVWDFNHGLQWKHVWUHHWVDVKLJKDVPHQFDQVWDFN
                         WKHP
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                         $QG\RXDUHHLWKHUJRLQJWREHVWDFNLQJRUJHWWLQJVWDFNHG
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                         7KHUHZLOOEHOHDGHUV<RXQHHGWREHSUHSDUHGWRUHFRJQL]HWKHP
                         IRUZKRWKH\DUHDQG\RXQHHGWREHSUHSDUHGWRGRZKDWHYHUWKH\
                         WHOO\RXWRGRH[DFWO\DVWKH\WHOO\RXWRGRLW
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                                                                     Defendant Andrew Anglin

                     'HIHQGDQWVDQGWKHLUFRFRQVSLUDWRUVFRQVSLUHGWRLQFLWHYLROHQFHDQGWRWKUHDWHQ

 LQWLPLGDWHDQGKDUDVVWKHFLYLOLDQSRSXODWLRQRI&KDUORWWHVYLOOHDQGLQSDUWLFXODUUDFLDOHWKQLF

 RUUHOLJLRXVPLQRULWLHVDQGWRFRPPLWRWKHUXQODZIXODFWVDVGHVFULEHGKHUHLQ)RUZHHNV

 'HIHQGDQWVDFWHGRQWKHEDVLVRIUDFLDOUHOLJLRXVDQGRUHWKQLFDQLPXVDQGZLWKWKHLQWHQWLRQWR

 GHQ\-HZLVKSHRSOHDQGSHRSOHRIFRORUDVZHOODVSHRSOHDGYRFDWLQJIRUWKHULJKWVRI-HZLVK

 SHRSOHDQGSHRSOHRIFRORUHTXDOSURWHFWLRQDQGRWKHUULJKWVWKDWWKH\DUHJXDUDQWHHGXQGHUVWDWH

 DQGIHGHUDOODZ'HIHQGDQWV¶FRQVSLUDF\XOWLPDWHO\DFKLHYHGLWVVWDWHGJRDOVDQGGLGLQIDFW

 UHSHDWHGO\V\VWHPDWLFDOO\DQGXQPLVWDNDEO\YLRODWHWKHULJKWVRIUHOLJLRXVDQGUDFLDOPLQRULWLHV

 LQ&KDUORWWHVYLOOH

                     7KHDSSOLFDWLRQIRUWKH8QLWHWKH5LJKWSHUPLWVXEPLWWHGE\'HIHQGDQW.HVVOHU

 FODLPHGWKDWWKHHYHQWZRXOGEHDSURWHVWRIWKHUHPRYDORIWKH/HHPRQXPHQWEXW'HIHQGDQWV

 DOVRLQWHQGHGWKDWWKHUDOO\ZRXOGLQVWLOOIHDULQ&KDUORWWHVYLOOH¶VPLQRULW\SRSXODWLRQDQGFDXVH

 YLROHQFH7KH\ZDQWHGWRXVHWKHHYHQWVRIWKHZHHNHQGWRLQWLPLGDWHWKHEURDGHUFLYLOLDQ

 SRSXODWLRQDQGUHFUXLWPRUHIROORZHUVWR'HIHQGDQWV¶JURXSV

                     $QDUWLFOHE\'HIHQGDQWV$QJOLQDQG5D\SXEOLVKHGRQWKH'DLO\6WRUPHU¶V

 ZHEVLWHRQ$XJXVWH[SODLQHGWKDWWKHSXUSRVHRIWKH³UDOO\´KDGVKLIWHGIURPEHLQJ³LQVXSSRUW

 RIWKH/HH0RQXPHQWZKLFKWKH-HZ0D\RUDQGKLV1HJURLG'HSXW\KDYHPDUNHGIRU

 GHVWUXFWLRQ´WR³VRPHWKLQJPXFKELJJHUWKDQWKDW,WLVQRZDQKLVWRULFUDOO\ZKLFKZLOO

 VHUYHDVDUDOO\LQJSRLQWDQGEDWWOHFU\IRUWKHULVLQJ$OW5LJKWPRYHPHQW´



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                     'HIHQGDQWV.HVVOHU6SHQFHU$QJOLQ5D\&DQWZHOO0RVOH\'DPLJR,QYLFWXV

 +HLPEDFK3DUURWW+LOO7XEEV)LHOGVDQG6FKRHSRQEHKDOIRIWKHPVHOYHVDQGWKHJURXSVWR

 ZKLFKWKH\EHORQJDQG'HIHQGDQWV,GHQWLW\(YURSD)2$.9DQJXDUG$PHULFD7:3/HDJXH

 RIWKH6RXWK1601DWLRQDOLVW)URQW/R\DO:KLWH.QLJKWVDQG(DVW&RDVW.QLJKWVDORQJZLWK

 'DLO\6WRUPHU 'HIHQGDQW0RRQEDVH+ROGLQJV WKURXJKWKHLUOHDGHUVKLSDQGPHPEHUVDOO

 DJUHHGDQGFRRUGLQDWHGZLWKDQGDPRQJHDFKRWKHUWRSODQRUJDQL]HSURPRWHDQGFRPPLWWKH

 XQODZIXODFWVWKDWLQMXUHG3ODLQWLIIVDQGFRXQWOHVVRWKHUVLQ&KDUORWWHVYLOOH7KH\DOVR

 FRRUGLQDWHGZLWKQXPHURXVQDPHGDQGXQQDPHGFRFRQVSLUDWRUV

                     'HIHQGDQW6SHQFHUDQGFRFRQVSLUDWRU(YDQ0F/DUHQDPHPEHURI'HIHQGDQW

 ,GHQWLW\(YURSDPHWLQSHUVRQDWWKH7UXPS+RWHOLQ:DVKLQJWRQ'&WRRUJDQL]HDQGGLUHFWWKH

 ³UDOO\´LQ&KDUORWWHVYLOOHZLWKWKHSXUSRVHDQGUHVXOWRIFRPPLWWLQJDFWVRIYLROHQFH

 LQWLPLGDWLRQDQGKDUDVVPHQWDJDLQVWWKHFLWL]HQVRI&KDUORWWHVYLOOH

                     'HIHQGDQWV&DQWZHOODQG.HVVOHUPHWLQ&KDUORWWHVYLOOHRQ$XJXVWWRSODQDQG

 GLUHFWWKHXQODZIXODFWVRIYLROHQFHLQWLPLGDWLRQDQGGHQLDORIHTXDOSURWHFWLRQRIODZ

                     'HIHQGDQWV5D\&DQWZHOODQG0RVOH\DQGFRFRQVSLUDWRU'DYLG'XNHDWWHQGHG

 DQRWKHULQSHUVRQPHHWLQJRQ$XJXVWWRSODQDQGGLUHFWWKHXQODZIXODFWVRIYLROHQFH

 LQWLPLGDWLRQDQGWKHGHQLDORIHTXDOSURWHFWLRQRIODZ

                     'HIHQGDQWV1DWLRQDOLVW)URQW1607:3/HDJXHRIWKH6RXWK9DQJXDUG

 $PHULFD(DVW&RDVW.QLJKWVDQG³RWKHUDOOLHV´FRRUGLQDWHGWKHLUDWWHQGDQFHDVD³MRLQW

 RSHUDWLRQ´LQDGYDQFHRI$XJXVWWRSODQGLUHFWDQGSUHSDUHIRUXQODZIXODFWVRIYLROHQFH

 LQWLPLGDWLRQKDUDVVPHQWDQGGHQLDORIHTXDOSURWHFWLRQWR&KDUORWWHVYLOOHFLWL]HQV

                     'HIHQGDQWVDOVRIUHTXHQWO\FRRUGLQDWHGWKHLOOHJDODFWVSODQQHGIRUWKH8QLWHWKH

 5LJKWHYHQWRQOLQH7KH\PDGHXVHRIZHEVLWHVVRFLDOPHGLD LQFOXGLQJ7ZLWWHU)DFHERRN

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 FKDQDQGFKDQ FKDWURRPVUDGLRYLGHRVDQGSRGFDVWVWRFRPPXQLFDWHZLWKHDFKRWKHUDQG

 ZLWKWKHLUFRFRQVSLUDWRUVIROORZHUVDQGRWKHUDWWHQGHHVDQGGLGVRWRSODQWKHLQWHQGHGDFWVRI

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                     )RU\HDUV'HIHQGDQWVDQGRWKHUVXQQDPHGKDYHXVHGWKH,QWHUQHWWRLQ'HIHQGDQW

 $QJOLQ¶VWHUPV³VROLGLI\DVWDEOHDQGVHOIVXVWDLQLQJFRXQWHUFXOWXUH´8VHRIWKH,QWHUQHWLVSDUW

 RIWKHZD\VPDQQHUDQGPHDQVRIKRZ'HIHQGDQWV¶FRQVSLUDF\RSHUDWHGDQGRSHUDWHV

                     'HIHQGDQWVDQGFRFRQVSLUDWRUVFRRUGLQDWHGE\SRVWLQJDUWLFOHVRQWKHLURZQ

 ZHEVLWHVDQGE\XVLQJVRFLDOPHGLDWRVHQGDQGVKDUHPHVVDJHVIRUWKH³UDOO\´DQGWRHQFRXUDJH

 DWWHQGDQFHDQGWKHFRPPLVVLRQRILOOHJDODFWV7KH\LQWHUYLHZHGRQHDQRWKHUDERXWWKHSODQVIRU

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 DJUHHGWRPRELOL]HWKHLUUHVSHFWLYHPHPEHUVDQGIROORZHUVWRDWWHQGDQGEHYLROHQWDQGVXSSUHVV

 WKHHTXDOULJKWVRI&KDUORWWHVYLOOHFLWL]HQV$FFRUGLQJWR6SHQFHUIRUH[DPSOH³'DPLJRDQG

 KLVJURXS>,GHQWLW\(YURSD@WRRNWKHOHDGWRRUJDQL]HZKLWHVXSUHPDFLVWSDUWLFLSDWLRQDPRQJ

 SHRSOHIURPRXWVLGH&KDUORWWHVYLOOH´

                     2QH,QWHUQHWWRRO'HIHQGDQWVXVHGH[WHQVLYHO\WRSODQDQGGLUHFWLOOHJDODFWVZDV

 WKHFKDWSODWIRUP'LVFRUG2ULJLQDOO\GHYHORSHGDVDPHVVDJLQJSODWIRUPIRUJURXS³JDPHSOD\´

 'LVFRUGLVVHWXSDVDVHULHVRISULYDWHLQYLWHRQO\VHUYHUVHDFKSURYLGLQJDVSDFHIRUUHDOWLPH

 JURXSGLVFXVVLRQ(DFKVHUYHULVRUJDQL]HGLQWR³FKDQQHOV´LQGLFDWHGE\D³´EHIRUHWKHQDPH

 3DUWLFLSDQWVLQWKHFKDWXVH³KDQGOHV´RUQLFNQDPHVWRLGHQWLI\WKHPVHOYHV3DUWLFLSDQWVFDQ

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 SURWHFWLRQRIODZDWWKH8QLWHWKH5LJKW³UDOO\´2QHXVHUH[SODLQHGWKDW'LVFRUGZDV³IRU

 FORVHGWRSVXSHUVHFUHWFRPPXQLFDWLRQVLQWHQGHGIRUWKHHOLWHLQQHUFLUFOHRIWKHDOWULJKW´

 'HIHQGDQWVXVHG'LVFRUGDVDWRROWRSURPRWHFRRUGLQDWHDQGRUJDQL]HWKH8QLWHWKH5LJKW

 ³UDOO\´DQGDVDPHDQVWRFRPPXQLFDWHDQGFRRUGLQDWHYLROHQWDQGLOOHJDODFWLYLWLHV³LQVHFUHW´

 GXULQJWKHDFWXDOHYHQWVRIWKDWZHHNHQG

                          'LVFRUGZDVPRGHUDWHGUHYLHZHGGLUHFWHGDQGPDQDJHGE\'HIHQGDQWV.HVVOHU

 DQG0RVOH\DORQJZLWKWKHLUFRFRQVSLUDWRUV$VPRGHUDWRUVRIWKHJURXSWKH\ZHUHDEOHWR

 YLHZDOORIWKHSRVWVLQYLWHRUUHMHFWSDUWLFLSDQWVDQGGHOHWHPHVVDJHVWKH\GLGQRWFRQGRQH7KH

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                          ,QGLYLGXDO'HIHQGDQWVLQFOXGLQJ+HLPEDFK3DUURWW&DQWZHOODQG5D\ZHUHDOO

 SDUWLFLSDQWVRQ'LVFRUGDQGSDUWLFLSDWHGLQWKHGLUHFWLRQSODQQLQJDQGLQFLWLQJRIXQODZIXODQG

 YLROHQWDFWVWKURXJK'LVFRUG

                          7KHVH'HIHQGDQWVDQGWKHLUFRFRQVSLUDWRUVXVHG'LVFRUGIRUUHJXODU³OHDGHUVKLS´

 PHHWLQJVWKURXJKZKLFKWKH\VKDUHGLQIRUPDWLRQDQGSODQV'HIHQGDQWVDOVRXVHG'LVFRUGWR

 GLVWULEXWHZKDWWKH\FDOOHG³2UGHUV´WRFRFRQVSLUDWRUVDQGDWWHQGHHV2QHGRFXPHQWSRVWHGE\

 'HIHQGDQW0RVOH\ZDVHQWLWOHG³*HQHUDO2UGHUV´IRU³2SHUDWLRQ8QLWHWKH5LJKW&KDUORWWHVYLOOH

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                          7KHUHZHUHDWOHDVWFKDQQHOVVHWXSRQ'LVFRUGDVDPHDQVRIVKDULQJVSHFLILF

 LQIRUPDWLRQ7KRVHFKDQQHOVLQFOXGHG

                  DQQRXQFHPHQWV               QHZV                              PDBFWBUL
                  GL[LHO\ULFV                VDIHW\BSODQQLQJ                   YWBQKBPH
                  PRGBKHOS                    DOH[BMRQHVBFKDW                   JUHDWBODNHVBUHJLRQ
                  FRQILUPHGBSDUWLFLSDQWV      SLFWXUHVBDQGBYLGHR                PLGZHVWBUHJLRQ
                  VKXWWOHBVHUYLFHBLQIRUPDWLRQ EHOWZD\BELJRWV                    N\BWQ
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 VHUYHU,W¶VLQYLWHRQO\WKURXJKRXUWUXVWHGSUHYHWWHGDOWULJKWVHUYHUV1RWVXUHZKRWROG\RXLW¶VSXEOLF´ 
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                  FRGHBRIBFRQGXFW               YRLFHBFKDW            W[BRN
                  VHOIBSURPRWLRQ                IULGD\QLJKW          IORULGD
                  IODJVBEDQQHUVBVLJQV           VXQGD\QLJKW          JHRUJLD
                  SURPRWLRQBDQGBF\EHUVWULNH     FKDQWV               FDUROLQDV
                  JHDUBDQGBDWWLUH               YLUJLQLDBODZV         FDOLIRUQLDBSDFLILFBQZ
                  DQWLIDBZDWFK                  ORGJLQJ               FDUSRROBDYDLODEOH
                  GHPRQVWUDWLRQBWDFWLFV         ORGJLQJBZDQWHG        Q\BQM
                  VSRQVRUVBRQO\                 ORGJLQJBDYDLODEOH     SHQQV\OYDQLD
                  LBQHHGBDBVSRQVRU              FDUSRROBZDQWHG        GFBYDBPG
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                     7KH\DOVRKDGDFKDQQHOFDOOHGTXHVWLRQVBIRUBFRRUGLQDWRUVZKHUHSDUWLFLSDQWV

 FRXOGDVNTXHVWLRQVRIWKHRUJDQL]HUVDQGDFKDQQHOIRUWKH³OHDGHUVKLS´UHVHUYHGIRU

 FRQYHUVDWLRQVDPRQJWKHPDLQRUJDQL]HUVRIWKHHYHQWDERXW³SODQQLQJ´DQG³LQIUDVWUXFWXUH´DVD

 OHDGHURI'HIHQGDQW9DQJXDUG$PHULFDODWHUGHVFULEHGLW:LWKWKHSHUPLVVLRQRIDPRGHUDWRU

 LQGLYLGXDOVFRXOGEH³WDJJHG´DVPHPEHUVRIFHUWDLQRUJDQL]DWLRQV'HIHQGDQWV9DQJXDUG

 $PHULFD,GHQWLW\(YURSD7:3DQG/HDJXHRIWKH6RXWKDVZHOODV'DLO\6WRUPHU 0RRQEDVH

 +ROGLQJV DQGLWV³ERRNFOXE´FKDSWHUVDOOKDG³SULYDWHRUJDQL]DWLRQFKDQQHO>V@´RQWKH

 &KDUORWWHVYLOOH'LVFRUGVHUYHUWKDWDOORZHGWKHLUWDJJHGPHPEHUVWRSDUWLFLSDWHLQSULYDWH

 JURXSFRPPXQLFDWLRQVLQDGYDQFHRIWKH³UDOO\´

                     'HIHQGDQWVHQOLVWHGRWKHUFRFRQVSLUDWRUVWRFRRUGLQDWHDQGRUJDQL]HWKH³UDOO\´

 WKURXJK'LVFRUGDQGRWKHUPHDQV)RUH[DPSOHRQHLQGLYLGXDOXVLQJWKH'LVFRUGKDQGOH

 ³7\URQH´ KHUHLQDIWHU7\URQH DJUHHGZLWK'HIHQGDQW.HVVOHUWKDWKHZRXOGFRRUGLQDWH

 WUDQVSRUWDWLRQIRUDWWHQGHHVRQ$XJXVW2WKHUVZHUHWDVNHGZLWKKHOSLQJ'HIHQGDQWV.HVVOHU

 DQG0RVOH\PRGHUDWHWKH'LVFRUGVHUYHU$QRWKHULQGLYLGXDOXVLQJWKH'LVFRUGKDQGOH

 ³&DHUXOXV5H[´ZDVWKHFRRUGLQDWRUEHWZHHQYDULRXV³VHFXULW\GHWDLOV´WKDWZHUHHVWDEOLVKHGE\

 'HIHQGDQWVDQGWKHLUFRFRQVSLUDWRUV³&DHUXOXV5H[´KDVDOVREHHQLGHQWLILHGDVDIUHTXHQW

 ERG\JXDUGRI'HIHQGDQW6SHQFHU



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 'LVFRUGLQRUGHUWREHVKDUHGDQGXWLOL]HGPRUHEURDGO\

                          'HIHQGDQWVDOVRXVHG'LVFRUGWRFRRUGLQDWHKRZWKH\ZRXOGFRPPXQLFDWHRQ

 RWKHUVRFLDOPHGLD)RUH[DPSOHWKH\WROGIROORZHUVWRXVH8QLWH7KH5LJKWDQG&KDUORWWHVYLOOH

 RQ7ZLWWHUVRWKDWWKH\DQGWKHLUIROORZHUVFRXOGFORVHO\FRPPXQLFDWHGXULQJWKHZHHNHQGRIWKH

 ³UDOO\´7KH\VKDUHGWKDWKDVKWDJWKURXJK'LVFRUG

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 VSUHDGWKHZRUGDERXWWKHHYHQWVLQ&KDUORWWHVYLOOHDQGWRHQFRXUDJHIROORZHUVWRVKRZXSDQGEH

 SUHSDUHGIRUYLROHQFH)RUH[DPSOH'HIHQGDQW9DQJXDUG$PHULFDKDVDWOHDVWRQH'LVFRUG

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 VWDWHV9DQJXDUG$PHULFDOHDGHUVZKRZHUHDFWLYHRQWKH&KDUORWWHVYLOOH'LVFRUGVHUYHU

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 SURYLGHFKDQQHOVRIFRPPXQLFDWLRQEHWZHHQ9DQJXDUGPHPEHUVDQGWKHPDLQRUJDQL]HUVRIWKH

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 ³$QWLFRP´ZKLFKSXUSRUWVWRSURYLGHGHIHQVLYHYLROHQFHDWZKLWHVXSUHPDFLVWHYHQWVOLNHWKH

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 RQWKH&KDUORWWHVYLOOHVHUYHUDQGWKHQXVHGWKH$QWLFRPVHUYHUWRWHOOIROORZHUVWRDWWHQGWKH

 HYHQWDQGEULQJZHDSRQVSXUVXDQWWRWKHGLUHFWLYHVRIWKH³UDOO\´RUJDQL]HUV

                          $OWKRXJKFHUWDLQSRVWVRQWKH&KDUORWWHVYLOOH6RXWKHUQ)URQWDQG$QWLFRP

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 DORQJZLWKWKHDIRUHPHQWLRQHGVHUYHUVWRSODQDQGFRRUGLQDWHDWWHQGDQFHDQGYLROHQWDFWVDWWKH

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 SXEOLF/LNHZLVHWKHOHDGHUVKLSFKDQQHORQWKH&KDUORWWHVYLOOHVHUYHUUHPDLQVXQGLVFORVHG

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 'HIHQGDQW,QYLFWXVFRFRQVSLUDWRU0F/DUHQDQGRWKHUV$PRQJRWKHUWKLQJVWKH

 &KDUORWWHVYLOOH6WDWHPHQWKROGVWKDW³µ-XGHR&KULVWLDQYDOXHV¶PLJKWEHDTXDLQWSROLWLFDOVORJDQ

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 WKDW³1DWLRQVPXVWVHFXUHWKHLUH[LVWHQFHDQGXQLTXHQHVVDQGSURPRWHWKHLURZQGHYHORSPHQW

 DQGIORXULVKLQJ5DFLDOO\RUHWKQLFDOO\GHILQHGVWDWHVDUHOHJLWLPDWHDQGQHFHVVDU\´

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                ,QWLPLGDWHDQG+DUDVV

                                      >7@KLV ZLOO FOHDUO\ EH DQ HDUWKVKDNLQJ GD\ WKDW ZLOO JR
                              GRZQLQWKHKLVWRU\ERRNVRXUWLPHKDVFRPH
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                              ZRUOG7KHUHZLOOEHEHIRUH&KDUORWWHVYLOOHDQGWKHUHZLOO
                              EH DIWHU &KDUORWWHVYLOOH   WKHUH LV QR ZD\ WR H[DJJHUDWH WKH
                              VLJQLILFDQFHRIWKLV:HFDQPDNHDOOWKHQRLVHRQWKHLQWHUQHWWKDW
                              ZHZDQWDQGWKLVLVJUHDWEXWRXUUHDOSRZHUZLOOFRPHRQO\IURP
                              QXPEHUVLQWKHVWUHHWV
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                                      >7@KDQNVWRWKHPDJQLWXGHRIWKLVHYHQW,WUXO\EHOLHYH²
                              PRUH WKDQ , HYHU GLG EHIRUH²WKDW ZH ZLOO HYHQWXDOO\ ZLQ WKLV
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 ZDVDFWLYHRQWKH6RXWKHUQ)URQWDQG&KDUORWWHVYLOOH'LVFRUGVHUYHUVSRVWHGLQWKH6RXWKHUQ)URQWVHUYHULQ
 UHVSRQVHWRUHSRUWVWKDWFHUWDLQ'LVFRUGFRQYHUVDWLRQVKDGEHHQPDGHSXEOLF³:HKDYHEHHQDZDUHRIWKDW7KHFKDW
 ORJVZHUHUHOHDVHGWRXQLFRUQULRW7KH\KDYHPRQWKVRIFRQYHUVDWLRQV,WZDVWKHJHQHUDOFKDWQRWWKHOHDGHUVKLS
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                              VWUXJJOHDQGVHFXUHWKHH[LVWHQFHRIRXUSHRSOHDQGIXWXUHIRUZKLWH
                              FKLOGUHQ,WLVRXUGHVWLQ\1H[WVWRS&KDUORWWHVYLOOH9$)LQDO
                              VWRS$XVFKZLW]6HH\DWKHUHIDJJRWV

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                          'HIHQGDQW$QJOLQWKURXJK'DLO\6WRUPHUWROGIROORZHUV³:HDUHDQJU\

 7KHUHLVD>VLF@DWDYLVWLFUDJHLQXVGHHSLQXVWKDWLVUHDG\WRERLORYHUThere is a craving to

 return to an age of violence. We want a war´+HDGYLVHGIROORZHUVWKDW³WKHKDUGFRUHPHVVDJH

 LVZKDWVHOOV´DQGWROGWKHPWR³>E@HUHDG\WRGLHIRU>WKHILJKW@´

                          2Q'HIHQGDQW6SHQFHU¶VZHEVLWHDOWULJKWFRPRQHDUWLFOHRQWKHXSFRPLQJ

 $XJXVW³UDOO\´H[SODLQHG³2XULGHDVGRPLQDWHWKHLQWHUQHW1RZLW¶VWLPHWRGRPLQDWHWKH

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 $QGQRZZHKDYHFRPHWRWKHWLSSLQJSRLQW´

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 RXWQXPEHUHGWKHDQWLZKLWHDQWL$PHULFDQILOWK$WVRPHSRLQWZHZLOOKDYHHQRXJKSRZHUWKDW

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 KWWSVQHZVYLFHFRPVWRU\YLFHQHZVWRQLJKWIXOOHSLVRGHFKDUORWWHVYLOOHUDFHDQGWHUURU  
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 DVKHV WKH\¶OOKDYHWRSU\LWIURPRXUFROGGHDGKDQGVLIWKH\ZDQWLW7KH\ZLOOQRWUHSODFHXV

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 RSHQDQGH[SOLFLW)RUH[DPSOHRQDSRGFDVWUXQE\0LFKDHO3HLQRYLFKWKH'DLO\6KRDKDFR

 FRQVSLUDWRUGLVFXVVLQJWKH³UDOO\´DVNHG³1RZFRPHRQEHDWLQJXSWKHZURQJQHJURLVWKDW

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                            Ɣ ³,¶PUHDG\WRFUDFNVNXOOV´

                            Ɣ ³,I\RXGRQ¶WKDYHDIODPHWKURZHU\RX¶UHZURQJ´

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                               GLIIHUHQFHVWKDWZLOOQHYHUUHDFKFRPSURPLVH±WKHRQO\TXHVWLRQLVWKH
                               OHYHORIFRQIOLFWWRGHFLGHWKHYLFWRU´

                            Ɣ ³<RXKDYHDZHHNEURV%HVWVSHQGLWKDYLQJIRXURUILYHRI\RXUIULHQGV
                               VLPXODWHMXPSLQJ\RX*ROLJKWGRQ¶WJHWLQMXUHGEHIRUHWKHHYHQWDQG
                               IRFXVRQEORFNLQJDQGSXVKLQJEDFNLQZD\VWKDWGRQ¶WORRNOLNHDVVDXOW´

                            Ɣ ³/HW¶VPDNHWKLVFKDQQHOJUHDWDJDLQ7KH&DUROLQDV NLQGRI VWDUWHGWKH
                               5HYROXWLRQDU\:DUDQGWKH&LYLO:DUVRZK\QRWDGGWKH5DFH:DU
                               6HFRQG&LYLO:DUWRWKHOLVW"´

                     'HIHQGDQWVWRRNQRVWHSVWRSUHYHQWDQ\YLROHQFH7RWKHFRQWUDU\FRQVLVWHQW

 ZLWKWKHLUFRQVSLUDF\WRHQFRXUDJHDQGHQDEOHYLROHQFH'HIHQGDQWVDQGFRFRQVSLUDWRUV

 UHLQIRUFHGDIDOVHQDUUDWLYHRIDODUJHU²QHFHVVDULO\YLROHQW²UDFLDODQGUHOLJLRXVZDULQZKLFK

 8QLWHWKH5LJKWHYHQWVZHUHDFULWLFDOPRPHQW7KLVVWUDWHJ\ZDVLQWHQGHGWR²DQGIRUHVHHDEO\

 UHVXOWHGLQ²YLROHQFHGLUHFWHGDWWKHUDFLDODQGUHOLJLRXVPLQRULWLHV

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 6RXWKDQG:HVWHUQFLYLOL]DWLRQIURPWKH-HZDQGKLVGDUNVNLQQHGDOOLHVEHDW&KDUORWWHVYLOOHRQ

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                     'HIHQGDQW0RVOH\SXEOLVKHG³*HQHUDO2UGHUV´IRUWKH³UDOO\´ZKLFKGLYLGHG

 DWWHQGHHVLQWR³)ULHQGOLHV´DQG³(QHPLHV&RXQWHU3URWHVWHUV´,QGLYLGXDOVRSSRVHGWRWKHLGHDV

 DGYDQFHGE\WKH8QLWHWKH5LJKW³UDOO\´ZHUHGHVFULEHGDV³KRVWLOH´

                 7KH*HQHUDO2UGHUVIXUWKHULQVWUXFWHGFRFRQVSLUDWRUVDQGDWWHQGHHVWKDWLIWKH\

 HQGHGXSORVLQJWKHLUSHUPLWWRJDWKHULQWKHSDUNWKHQWKH\PD\³KDYHWRLQLWLDWHSODQUHGRUKDYH

 WRWDNHWKHJURXQGE\IRUFHZLWKSODQ\HOORZ´3ODQ5HGZDVGHVFULEHGDV³LQFUHGLEO\

 GDQJHURXV´DQGFDOOHGIRUPHHWLQJHDUO\DWDUDOO\SRLQWDQGPDUFKLQJWRWKHSDUN7KH*HQHUDO

 2UGHUVDOVRSURPLVHGWKDWWKHUHZRXOGEH³VHFXULW\IRUFHVWRUHGXFHWKHWKUHDW´SUHVHQWHGE\

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 YLROHQFH7KLVLQFLWHPHQWZDVNQRZQWRDQGSURPRWHGE\'HIHQGDQWV

                 7\URQHSRVWHGDTXRWHIURP+LWOHU¶VFORVHDVVRFLDWHDQG³5HLFK3OHQLSRWHQWLDU\

 IRU7RWDO:DU´3DXO-RVHSK*RHEEHOVRQ'LVFRUG³:KRHYHUFDQFRQTXHUWKHVWUHHWZLOORQHGD\

 FRQTXHUWKHVWDWHIRUHYHU\IRUPRISRZHUSROLWLFVDQGDQ\GLFWDWRUVKLSUXQVWDWHKDVLWVURRWVLQ

 WKHVWUHHW´

                 'HIHQGDQWVH[SUHVVO\DFNQRZOHGJHGWKDWWKHLUIDOVHQDUUDWLYHRI³VHOIGHIHQVH´

 ZDVPHUHO\DSUHWH[WIRUYLROHQFH7\URQHIRUH[DPSOHKDGWKHIROORZLQJH[FKDQJHRQ'LVFRUG

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                         $PHULFDQD±0',I\RX¶UHFRQFHUQHGDERXWDQWLIDVKRZLQJXSDQGEHLQJYLROHQW
                         ,SUHVHQW\RXYDOLGRSWLRQV'RQ¶WDWWHQG>HPRMLRIDZRPDQ@RU%HEHWWHU
                         DWYLROHQFHWKDQWKH\DUH
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                         7\URQH,W¶VQRWMXVWDERXW\RX FROOHFWLYH\RXQRWSHUVRQDO YLROHQFHOLNHWKLVLVD
                         WHDPJDPH

 7\URQHWKHQWROGRWKHUV³7KHEHVWGHIHQVHLVDJRRGRIIHQVHP\JUDQGSDSS\WDXJKWPH´

                 2QH'LVFRUGSDUWLFLSDQWWROGSHRSOHWR³SXUFKDVHVHOIGHIHQVHLQVXUDQFH´ZKLOH

 DQRWKHUTXLSSHGWKDWWKHDELOLW\WRPDNHRXWDVHOIGHIHQVHFODLP³>G@HSHQGVKRZPXFKRIDMHZ

 \RXUODZ\HULV´

                 8VLQJ'LVFRUGDQGRWKHUPHGLXPV'HIHQGDQWVJDYHRUGHUVWRHDFKRWKHUFR

 FRQVSLUDWRUVDQGIROORZHUVLQDGYDQFHRIWKH8QLWHWKH5LJKWZHHNHQGLQFOXGLQJZKDWZHDSRQV

 WREULQJZKDWSURWHFWLYHDUPRUWRZHDUDQGLQVWUXFWLRQVIRUXQLIRUPV,QSDUWLFXODUWKH\

 DGYLVHGRWKHUSDUWLFLSDQWVWREULQJILUHDUPVRULPSURYLVHGZHDSRQV7KH\HQJDJHGLQWKHVHDFWV

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 KDUDVVPHQWDJDLQVWUDFLDODQGUHOLJLRXVPLQRULWLHVDQGWKUHDWHQWKHEURDGHU&KDUORWWHVYLOOH

 SRSXODWLRQ

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 DFRQFHDOHGILUHDUP´

                 2QHFRFRQVSLUDWRUZKRZDVDFWLYHRQWKH&KDUORWWHVYLOOH'LVFRUGVHUYHUDV

 WKH³+HDG5HSUHVHQWDWLYH´RI$QWLFRPRQWKHVHUYHUWROGKLVIROORZHUVLQWKH$QWLFRPVHUYHURQ

 $XJXVW³#HYHU\RQH%ULQJDVPXFKJHDUDQGZHDSRQU\DV\RXFDQZLWKLQWKHFRQILQHVRIWKH

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 WKLV´+HDGGHG³7KLVLVWKHWLPHWRJHWRII'LVFRUGDQGWDNHDFWLRQ´2Q$XJXVWKH

 VLPXOWDQHRXVO\SRVWHGRQWKH&KDUORWWHVYLOOHDQG$QWLFRPVHUYHUVWKHDSKRWRJUDSKRI

 KLPVHOILQWDFWLFDOJHDUFDUU\LQJDULIOH VHHLPDJHVEHORZIURPWKH&KDUORWWHVYLOOHVHUYHU

 OHIWDQG$QWLFRPVHUYHUULJKW +HWROGKLVIROORZHUV³,ZDVQ¶WNLGGLQJZKHQ,PDGHDQ

 DQQRXQFHPHQWWREULQJDVPXFKZHDSRQU\DVOHJDOO\IHDVLEOH7KLVZDVGLVFXVVHGZLWKWKH

 RUJDQL]HUV´$Q$QWLFRPIROORZHUUHVSRQGHG³<HDK,DOVRUHFRPPHQGHGFURZGIXQGLQJD

 GROODUFDPSDLJQWRKDQGRXWSHSSHUVSUD\WRIHOORZJRHUV´




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 DXWRPDWLFZHDSRQVDQGWDFWLFDOJHDUDQGERDVWHGDERXWWKHZHDSRQVWKH\ZHUHEULQJLQJ

 7\URQHIRUH[DPSOHEUDJJHGRQWKH&KDUORWWHVYLOOHVHUYHUWKDWKHZRXOGEHEULQJLQJ

 ³0RVLQ1DJDQWVZLWKED\RQHWVDWWDFKHG´UHIHUULQJWRPLOLWDU\ULIOHVXVHGE\5XVVLDQDQG6RYLHW

 DUPHGIRUFHVZKLFK³ZLOOVKRRWFOHDQWKURXJKDFURZGDWOHDVWIRXUGHHS´7LP³%DNHG$ODVND´

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 EFRIILFHUVGRQ¶WGXFNORO%XWP\JX\VZLOOEHUHDG\ZLWKORWVRIQLIW\HTXLSPHQW´

                 2QHFRFRQVSLUDWRURQ'LVFRUGSRVWHGDIDNHDGYHUWLVHPHQWIRUDSURGXFWWKDW

 ORRNHGOLNHSHSSHUVSUD\FDOOHG³1LJ$ZD\´²´DQRIXVVQRPXVVµQLJJHUNLOOHU¶´SURPLVHGWR

 ³NLOO>@RQFRQWDFWGLVVROY>LQJ@DOOWLVVXHOHDY>LQJ@RQO\ERQHPDWWHU´LQRUGHUWR³ULGWKHDUHD

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 REMHFWVWRLQIOLFWKDUP
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                              ³,¶PFRQFHDOFDUU\LQJ´

                         Ɣ ³>$@UHDOPDQNQRZVKRZWRPDNHDVKLHOGDGHDGO\ZHDSRQ´

                         Ɣ ³>.@QLYHVDQGJXQVDUHPRUHOHJDOWKDQEOXQWZHDSRQVRUEDWRQVEXWLWV>VLF@
                            EHWWHUWRRQO\FDUU\ZKDWZRXOGRQO\EHSHUFHLYHGDVDGHIHQVLYHWRRO,ILJXUH
                            NQLYHVZRXOGFDXVHWKHSROLFHPRUHDODUPRYHUDFDQRISHSSHUVSUD\RUD
                            UXJJHGDQGDEUDVLYHVKLHOG´

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                         Ɣ ³>5@HPHPEHUWKDWQHZVSDSHUVFDQEH\RXUJUHDWHVWDOO\WRVVDIHZSHQQLHVLQ
                            WKHUHUROOLWXSDQGIROGLWDQGEDP´

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                            VWRUHDQGFXWLWWRVL]H´

                         Ɣ ³,I\RXJHW39&JHWVFKHGXOHIRUWKLFNHUWKXPSLQJ´

                         Ɣ ³'RQ¶WFDUU\DQ\WKLQJWKDW¶VH[SOLFLWO\DZHDSRQ)ODJSROHVDQGVLJQVZRUN
                            EXWRSHQO\FDUU\LQJREYLRXVZHDSRQU\LVSUREDEO\QRWDJRRGLGHD´

                         Ɣ ³$ZUHQFKZLWKDZULVWODQ\DUGJHWVWKHVDPHMRE>DVDEODFNMDFNELOO\FOXE@
                            DFFRPSOLVKHG´

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                 2Q-XQH.HVVOHUSRVWHGLQWKHDQQRXQFHPHQWFKDQQHORIWKH

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 VKLHOGVDQGRWKHUVHOIGHIHQVHLPSOHPHQWVZKLFKFDQEHWXUQHGIURPDIUHHVSHHFKWRROWRDVHOI

 GHIHQVHZHDSRQVKRXOGWKLQJVWXUQXJO\´

                 2QHFRFRQVSLUDWRURQ'LVFRUGSRVWHGDOLQNWRKLVVWRUH5HVLVWDQFH7RROVDORQJ

 ZLWKDFRXSRQFRGH 81,7(7+(5,*+7 DQGZURWH³)253(23/(127&21&($/('

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 XVHUQDPH³7KRPDV5\DQ´RQLQIRUPDWLRQDQGEHOLHI7KRPDV5\DQ5RXVVHDXDOHDGHURI

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 HYHQWLVD             %,*'($/    DQGRIIHUVDFKDQFHWROLQNXS9DQJXDUG*X\VIURPDFURVVWKH

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 PDWFKLQJNKDNLSDQWVDQGZKLWHSRORVDERXWZKLFKRQHPHPEHURQWKHVHUYHUFRPPHQWHG³,

 OLNHWKHSRORVLW¶VDJRRGILJKWLQJXQLIRUP´5RXVVHDXDOVRWROGKLV9DQJXDUG$PHULFDFR

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 FRQFHDOHGFDUU\VRPHZLOOQRW´2Q$XJXVWRQHFRFRQVSLUDWRUDVNHG³6HULRXVTXHVWLRQZK\

 DUHWKH\VD\LQJQRWWREULQJILUHDUPV"´$QRWKHUUHSOLHG³6RXQGVOLNHWKH\DUHVFDUHGORO,

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 PHPEHUVWRDWWHQGWKHUDOO\SRVWLQJDOLQNWRWKH'DLO\6WRUPHUDUWLFOH³&KDUORWWHVYLOOH:K\

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 UHVSRQGHGWR5D\¶VSRVWZLWKDYLROHQWGUDZLQJRI'HIHQGDQW+HLPEDFKZHDULQJDVKLUWEHDULQJ

 1D]LDQG'HIHQGDQW7:3V\PEROVDQGWKHZRUGV³QLJJHUNLOOHU´DERYHDWDOO\RI³FRPPXQLVWV

 NLOOHG´VPLOLQJLQIURQWRIGHFDSLWDWHGEODFNPHQZHDULQJORJRVDVVRFLDWHGZLWKDQWLIDVFLVW

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 VHUYHUDIWHUWKHHYHQWWKDW9DQJXDUG$PHULFDKDGFRRUGLQDWHGZLWK'HIHQGDQW1DWLRQDO6RFLDOLVW

 0RYHPHQWEHFDXVHWKH&KDUORWWHVYLOOHHYHQWZDVDERXWYLROHQFH³,QFYLOOHZHQHHGHGQXPEHUV

 160IRXJKWVRKDUGUHJDUGOHVVRIWKHLURSWLFV'RZHQHHGWKHPDWQRUPLHHYHQWV"1R:H

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 LVVXHGGLUHFWLYHVXVLQJ'DLO\6WRUPHU¶VZHEVLWHLQDGYDQFHRIWKH8QLWHWKH5LJKWZHHNHQG,Q

 DUWLFOHVWLWOHG³2SHUDWLRQDO6HFXULW\IRU5LJKW:LQJ5DOOLHV´DQG³&KDUORWWHVYLOOH:K\<RX


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 WREULQJWLNLWRUFKHVDQGVKRXOGDOVREULQJSHSSHUVSUD\IODJSROHVIODJVDQGVKLHOGV

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 WKUHDWDVVHVVPHQWVIURPWKH)HGHUDO%XUHDXRI,QYHVWLJDWLRQLQGLFDWLQJWKDW³8QLWH7KH5LJKW

 VXSSRUWHUVZRXOGEULQJEDWVEDWRQVIODJVWLFNVNQLYHVDQGILUHDUPVWRFRQIURQWWKHLUSROLWLFDO

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                 'HIHQGDQWVDQGFRFRQVSLUDWRUVSURYLGHGJXLGDQFHDQGLQVWUXFWLRQVWRFR

 FRQVSLUDWRUVDQGSDUWLFLSDQWVDERXWKRZWRWU\WRDYRLGWKHOHJDOUDPLILFDWLRQVRIWKHLUYLROHQFH

 )RUH[DPSOHWKH\VHWXSDFKDQQHORQ'LVFRUGGHYRWHGWRXQGHUVWDQGLQJ9LUJLQLDODZZKHUHRQH

 FRFRQVSLUDWRUVXJJHVWHGWKDWUDOO\JRHUVEX\VHOIGHIHQVHLQVXUDQFH'HIHQGDQWVDOVRDVVXUHGFR

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 'HIHQGDQW6SHQFHUSXWRXWDFDOOIRUDWWRUQH\VRQKLVZHEVLWHDOWULJKWFRP'DLO\6WRUPHU

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                         ([LWIURPDQ\ULVN\VLWXDWLRQDVTXLFNO\DV\RXFDQ,I\RXPDNH
                         \RXUVHOI HDV\ WR VHUYH ZLWK OHJDO SURFHVV OHJDO SURFHVV ZLOO EH
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 /RXLVLDQDFKDSWHUVRI'HIHQGDQW9DQJXDUG$PHULFDIRUH[DPSOHSODQQHGWRKDYHVKLHOGVZLWK

 WKHLUORJRVSDLQWHGRQ

                 'HIHQGDQWVDOVRGLVFXVVHGDQGLQWHQGHGIRUIROORZHUVWRFRPHZLWKSDUDSKHUQDOLD

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 &RQIHGHUDWHIODJLV7+(%(67RSWLFVEHFDXVHLW¶VEHORYHGE\OHJLRQVRI6RXWKHUQHUVZKRDUHRQ

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 PRQXPHQWVDQGFRQIHGHUDWHVROGLHUVLQIRUPDWLRQ




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                &R&RQVSLUDWRUVDQG$WWHQGHHV

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 FRRUGLQDWLQJDWWHQGDQFHDWWKHUDOO\WKURXJK'LVFRUGWKH'DLO\6WRUPHUZHEVLWHDQGRWKHU

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 'HIHQGDQWVDOVRXVHGFKDQQHOVOLNHFDUSRROBZDQWHGDQGFDUSRROBDYDLODEOHWRRUJDQL]H

 FDUSRROVLQ³+DWH9DQ>V@´DQG³IXOOEORZQKDWHFRQYR\>V@´

                 2QWKH'DLO\6WRUPHUZHEVLWHDWWHQGHHVZHUHDGYLVHG³,I\RXZDQWWRFRPHEXW

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 VHFWLRQDQGILQGWKHQHDUHVWERRNFOXEWR\RXDQGSRVWLQWKDWWKUHDGWKDW\RXZDQWWRJREXWQHHG

 DVVLVWDQFH,I\RXKDSSHQWRKDYHKLWDGHDGWKUHDGVWDUWDWKUHDGLQ*HQHUDO'LVFXVVLRQDVNLQJ

 IRUKHOS,I\RXDUHJRLQJDQGKDYHDQH[WUDVHDWRUVHDWVVWDUWDWKUHDGWRRIIHUDULGH´

                 &DQWZHOODVNHGOLVWHQHUVRIKLV5DGLFDO$JHQGDSRGFDVWDQGUHDGHUVRIKLVZHEVLWH

 WRVHQGPRQH\WRKLPLIWKH\³ZDQW>HG@WRKHOS´EXWFRXOGQRWDWWHQGWKH³UDOO\´

                 5RRW%RFNVDQG:H6HDUFKU²VLWHVWKDWZHUHVHWXSWRUDLVHPRQH\IRUKDWHEDVHG

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 WZHHWHG³#%DNHG$ODVNDZDVEDQQHGIURP#*R)XQG0HVRJRKHOSKLPRXWKHUH´%DNHG

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 5LJKWV(UD*HRUJH/LQFROQ5RFNZHOOWKHIRXQGHURIWKH$PHULFDQ1D]L3DUW\DQGKLVVXSSRUWHUVGURYHDWZR
 YHKLFOHFDUDYDQWKDWLQFOXGHGDEOXHDQGZKLWHYDQGXEEHGWKH³+DWH%XV´WKURXJKWKH6RXWK7KHH[WHULRURIWKH
 YDQZDVSODVWHUHGZLWKWKHZRUGV³/,1&2/152&.:(//¶6+$7(%86´DQGWKHSKUDVHV³:('2+$7(
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 DWWDFNHGWKH)UHHGRP5LGHUV EODFNDQGZKLWHFLYLOULJKWVDFWLYLVWVZKRURGHLQWHUVWDWHEXVVHVLQDFDPSDLJQRI
 GHVHJUHJDWLRQ DQGKRSHGWRFRQIURQWWKH³&RPPXQLVWQLJJHUORYLQJ´5LGHUVZKHQWKH\DUULYHGLQ1HZ2UOHDQV,Q
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                 2QWKH$XJXVW³&KDUORWWHVYLOOH8QLWHWKH5LJKW$QQRXQFHPHQW6SHFLDO´SRGFDVW

 ZLWK3HLQRYLFK'HIHQGDQW0RVOH\WROGOLVWHQHUVWKDWWKH\¶GEHVHWWLQJXSDJHQHUDOOHJDOIXQG

 XVLQJ5RRWERFNV2QWKDWVDPHSURJUDP0RVOH\WROGOLVWHQHUVKRZWRJHWKHOSZLWK

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 RUJDQL]HVKXWWOHV2QHFRFRQVSLUDWRULQVWUXFWHG'LVFRUGSDUWLFLSDQWV³1RERG\LVJRLQJWRWKH

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 'LVFRUGSDUWLFLSDQWVXJJHVWHGWKDWDZKLWHVXSUHPDFLVWJURXS³JRWRWKHEORFSDUW\DIWHUDQGEHDW

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 -HZVZKRZHUHPDVVDFUHGGXULQJWKH+RORFDXVWWKDWLVGLVSOD\HGLQDJODVVFDELQHW

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 3ODLQWLII3HDUFHWKRXJKWDWWKHWLPHRIKRZLURQLFLWZDVWKDWD7RUDKWKDWPDQDJHGWRVXUYLYHWKH

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 VXSUHPDFLVWVZHUHH[SHFWHGWREHLQ&KDUORWWHVYLOOH7KH7HPSOHWRRNIXUWKHUVDIHW\SUHFDXWLRQV

 LQFOXGLQJKLULQJDVHFXULW\JXDUGWRNHHSWKHFRQJUHJDWLRQVDIHZKLOHWKH\ZHUHWKHUHIRU

 VHUYLFHVUHGLUHFWLQJVXEVWDQWLDOUHVRXUFHV

                 6WRUHVUHVWDXUDQWVDQGEDUVDURXQGWRZQFUHDWHGVLJQVWKDWWKH\SRVWHGLQWKHLU

 ZLQGRZVVKRZLQJWKHEXVLQHVVHV¶VXSSRUWIRUHTXDOLW\DQGGLYHUVLW\7KRVHVWRUHVDQG

 UHVWDXUDQWVZHUHDOVRWDUJHWHGE\'HIHQGDQWV

                 ,Q-XQHIRUH[DPSOH'HIHQGDQW.HVVOHUHQFRXUDJHG'LVFRUGSDUWLFLSDQWVWR

 REWDLQWKHQDPHVRIORFDOEXVLQHVVHVZKRVHRZQHUVVLJQHGDSHWLWLRQWRDVNWKHJRYHUQPHQWWR

 FDQFHO.HVVOHU¶VSHUPLW,Q$XJXVWFRFRQVSLUDWRU*ULIILQWZHHWHGDERXWWDUJHWLQJDORFDO

 UHVWDXUDQW%UD]RV7DFRV'HIHQGDQW0RVOH\DOVRWZHHWHGDERXWWDUJHWLQJVHYHUDOUHVWDXUDQWV

 QDPHO\%UD]RV7DFRV&LQHPD7DFR&RPPRQZHDOWK5HVWDXUDQWDQG6N\EDU0XGKRXVHDQGWKH

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 VLJQLQWKHZLQGRZUHDGLQJ³,IHTXDOLW\ GLYHUVLW\DUHQ¶WIRU\RXWKHQQHLWKHUDUHZH´2Q

 $XJXVW3HLQRYLFKWZHHWHG³'RWKHVHZKLWHEXVLQHVVRZQHUVDQGVKLWOLEVLQ&9LOOHWKLQNWKDW

 WKHLUYLUWXHVLJQDOLQJPHDQWKH\ZLOOEHVSDUHGVRPHKRZ"/RO´

                 %\LGHQWLI\LQJWKHVHEXVLQHVVHV'HIHQGDQWVLQWHQGHGWKDWWKHLUFRFRQVSLUDWRUV

 DQGIROORZHUVZRXOGWKUHDWHQWKHVHEXVLQHVVHV$QXPEHURIWKHVHEXVLQHVVHVWKHUHDIWHUUHFHLYHG

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                ,QWLPLGDWLRQ7KH\+DG3ODQQHG

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                       7KH³6HFUHW´7RUFK3DUDGH

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 ,QYLFWXVDORQJZLWKWKHLUFRFRQVSLUDWRUVRUJDQL]HGDWRUFKOLJKWPDUFKWKURXJKFDPSXV

 FXOPLQDWLQJDWWKHVWDWXHRI7KRPDV-HIIHUVRQQHDUWKH5RWXQGDRQ$XJXVWDWWKH*URXQGVDW

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                 7KHSHUPLW'HIHQGDQW.HVVOHUDSSOLHGIRUDQGUHFHLYHGZDVIRUWKHIROORZLQJGD\

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 WKH$XJXVWWRUFKSDUDGH³EHFDXVHLWZDVDVHFUHWDUUDQJHPHQW´

                 7KHWRUFKSDUDGHZDVWKHUHVXOWRIZHHNVRISODQQLQJE\'HIHQGDQWVDQGFR

 FRQVSLUDWRUV7KH\KDGHVWDEOLVKHGDIULGD\BQLJKWFKDQQHORQ'LVFRUGWRFRRUGLQDWHDWWHQGDQFH

 GUHVVFRGHDQGSODQV7KH\DGYLVHGFRFRQVSLUDWRUVWKDWWKHHYHQWZDVLQWHQGHGWREHDVHFUHW

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                 )RUH[DPSOHWKH'DLO\6WRUPHUZHEVLWHVWDWHG

                      7LNL7RUFKHV<HV±UHTXLUHG3LFNXSWLNLWRUFKHVEHIRUH\RXOHDYH
                      \RXUKRPHWRZQ7KHUHZLOOEHDWRUFKOLJKWFHUHPRQ\DQGWKHWLNL
                      WRUFKHVZLOODOOEHJRQHIURPWKHVKHOYHVRIWKHORFDOVWRUHV'ROODU
                      VWRUHVDUH\RXUEHVWEHW:DO0DUWKDVWKHPFKHDSDVZHOO0DNH
                      VXUH DQG JHW VRPH WLNL WRUFK IXHORLO WRR  2WKHUZLVH WKH\ ZRQ¶W
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                 2QDSODQQLQJFDOOFRQGXFWHGWKURXJK'LVFRUG'HIHQGDQW0RVOH\LQVWUXFWHG

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 GRHVQ¶WKDYHWLNLVWXIIQRZVKRXOGJRRXWDQGJHWLWWRQLJKWRUWRPRUURZPRUQLQJDQGLI\RX

 FRXOGJHWH[WUDVWKDWZRXOGEHJUHDW´'HIHQGDQW.HVVOHURUGHUHGDWWHQGHHVWREX\WRUFKHVIRU


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 )ULGD\EXWWRGRVRRXWVLGHRI&KDUORWWHVYLOOHVRWKDWWKH\ZRXOGQRW³WLSRXUHQHP\RII´+H

 LQVWUXFWHGWKDWSHRSOH³EX\H[WUDVIRUWKRVHZKRDUHIO\LQJLQRUXQSUHSDUHG´

                 'HIHQGDQW0RVOH\RUGHUHGLQGLYLGXDOVWRDUULYHDW1DPHOHVV)LHOGDODUJHDUHD

 EHKLQG89$¶V0HPRULDO*\PQDVLXPDWSPVRWKDWWKH\FRXOGPDUFKRQFHGDUNQHVVIHOO

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 VWUHVVHGWKDW³LW¶VH[WUHPHO\LPSRUWDQWWKDWQRERG\PHQWLRQWKLVRXWVLGHRXUFLUFOH´

                 :KLOHSODQQLQJWKHLUWRUFKOLJKWPDUFK'HIHQGDQWVZHUHDZDUHRIWKHIDFWWKDW

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 SODQQHGWRUFKOLJKWPDUFKD'LVFRUGSDUWLFLSDQWSRVWHGDOLQNWR89$¶VJXLGHOLQHVDJDLQVWRSHQ

 ILUHV$FRFRQVSLUDWRUDQGPRGHUDWRURQ'LVFRUG³SLQQHG´WKHUHJXODWLRQWRWKHFKDWPHDQLQJ

 WKDWLWZDVKLJKOLJKWHGIRUSDUWLFLSDQWV

                 7KHFKRLFHWRXVHOLWWRUFKHVZDVDGHOLEHUDWHGHFLVLRQWRKDUDVVDQGLQWLPLGDWHWKH

 SHRSOHRI&KDUORWWHVYLOOHDQGFRXQWHUSURWHVWHUVHVSHFLDOO\SHRSOHRIFRORUDQG-HZLVKSHRSOH

 'HIHQGDQWVDQGFRFRQVSLUDWRUVLQWHQWLRQDOO\GUHZRQWKHKLVWRU\RIWRUFKEHDULQJPREVDQGLQ

 SDUWLFXODUWKH.X.OX[.ODQ¶VXVHRIWRUFKHVLQWKHODWHVDQGLQWKHWZHQWLHWKFHQWXU\DQG

 WKH1D]L¶VXVHRIWRUFKHVLQWKHLUUDOOLHVLQWKHV,QERWKKLVWRULFDOFDVHVMXVWDVZLWKFURVV

 EXUQLQJWKHXVHRIWRUFKHVZDVFRQQHFWHGZLWKUDFLDOYLROHQFHWRUFKHVZHUHFKRVHQE\

 'HIHQGDQWVDQGFRFRQVSLUDWRUVDVSDUWRIDGHOLEHUDWHSODQWRHYRNHIHDURIWKHVDPHNLQGRI

 YLROHQFH$VRQHFRFRQVSLUDWRURQ'LVFRUGH[SODLQHG³7LNLWRUFKHVDUHWKHODVWVWDQGRI

 LPSOLFLWZKLWHQHVV´'HIHQGDQW5D\H[SODLQHGWKHSXUSRVHRIWKHWRUFKSDUDGHDVIROORZV³2XU

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 JDWKHUHGDWD:DOPDUWRXWVLGHRI&KDUORWWHVYLOOH&DQWZHOOWKHQWUDYHOOHGWR0F,QWLUH3DUNWR

 SUHSDUHIRUWKHHYHQLQJ,QDQLQWHUYLHZZLWKDUHSRUWHUIURPVice&DQWZHOOVDLG³,¶PWU\LQJWR

 PDNHP\VHOIPRUHFDSDEOHRIYLROHQFH,¶PKHUHWRVSUHDGLGHDVWDONLQWKHKRSHVWKDW

 VRPHERG\PRUHFDSDEOHZLOOFRPHDORQJDQGGRWKDW´

                 2Q)ULGD\HYHQLQJXVLQJ'LVFRUG'HIHQGDQW0RVOH\DOHUWHGFRFRQVSLUDWRUVWKDW

 WKH\VKRXOGJRWR89$³(YHU\RQHFDQVWDUWDVVHPEOLQJDWQDPHOHVVILHOGULJKWQRZZLWK\RXU

 WRUFKHVWRVWDUWVWDJLQJ:HZLOOVWHSRIIIURPWKHILHOGDWSP´

                 6WDUWLQJDURXQGSPDSSUR[LPDWHO\QHR1D]LVDQGZKLWH

 VXSUHPDFLVWV²'HIHQGDQWVDQGWKHLUFRFRQVSLUDWRUV²EHJDQDUULYLQJDW1DPHOHVV)LHOG7KH\

 FDUULHGXQOLWWLNLWRUFKHVDQGPDQ\ZRUHNKDNLSDQWVDQGZKLWHSRORVKLUWV WKHXQLIRUPRI

 'HIHQGDQW9DQJXDUG$PHULFD DQGSLQVPDUNLQJWKHLUDIILOLDWLRQVZLWKGLIIHUHQWKDWHJURXSV$

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                 3ODLQWLII-RKQ'RHDORQJZLWKRWKHU89$VWXGHQWVSHDFHIXOO\ZDONHGWRWKH

 5RWXQGDZKHUH'HIHQGDQWVZHUHEHOLHYHGWREHKROGLQJWKHLUHYHQW

                 3ODLQWLII1DWDOLH5RPHURKDGVSHQWWKHDIWHUQRRQRI$XJXVWSDLQWLQJEDQQHUV

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 OHDUQHGWKDW'HIHQGDQWVZRXOGEHKROGLQJDUDOO\RQWKH89$FDPSXVDWWKH5RWXQGD:LWKD

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 FRFRQVSLUDWRUVEDUNLQJDQGJUXQWLQJORXGO\PDNLQJVRXQGVWKDWUHVRQDWHGIRUEORFNV

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 ZKLWHVXSUHPDFLVWVDQGQHR1D]LVWHOOLQJWKHPWRJHWLQVSHFLILFIRUPDWLRQVDQGDVVLJQLQJ

 SHRSOHHLWKHUWRPDUFKZLWKDWRUFKRURQWKHVLGHDV³VHFXULW\´

                 'HIHQGDQWVDQGWKHLUFRFRQVSLUDWRUVILOOHGWKHLUWLNLWRUFKHVZLWKIXHOIRUPHGD

 ORQJFROXPQDQGOLWWKHIODPHV7KH\WKHQVWDUWHGPDUFKLQJWZRE\WZRIURP1DPHOHVV)LHOGWR

 WKH5RWXQGDDQGGRZQWRWKH-HIIHUVRQ6WDWXH'HIHQGDQWVDQGFRFRQVSLUDWRUVGHOLEHUDWHO\WRRN

 DFLUFXLWRXVURXWHWKDWLQFOXGHGPDUFKLQJWKURXJKVWXGHQWKRXVLQJRQWKH/DZQZKLFK3ODLQWLII

 6LQHVREVHUYHGDQGZKLFKZDVLQWHQGHGWRWKUHDWHQLQWLPLGDWHDQGKDUDVVDVPDQ\E\VWDQGHUV

 DVSRVVLEOH

                 'HIHQGDQWVPDUFKHGLQDQRUJDQL]HGFRRUGLQDWHGIDVKLRQ2UJDQL]HUVLQFOXGLQJ

 'HIHQGDQW&DQWZHOOZRUHHDUSLHFHVFDUULHGUDGLRVDQGVKRXWHGVSHFLILFRUGHUVDWWKHPDUFKHUV

 7KH\VKRXWHGWRNHHSSDFHDYRLGJDSVVWD\LQOLQH³WZRE\WZR´DQGPDUFKDORQJVLGHD

 ³VHFXULW\JXDUG´'HIHQGDQW,QYLFWXVVDLGLWZDVD³WLJKWRSHUDWLRQ´DQGLQKLVOLYHYLGHRIHHG

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                 'HIHQGDQW&DQWZHOOPDUFKHGRQWKHRXWVLGHRIWKHFROXPQDORQJZLWKRWKHU

 ³JXDUGV´ZKRZHUHVHOHFWHGIRUWKHLUZLOOLQJQHVVWR³JHWSK\VLFDO´ZLWKFRXQWHUSURWHVWRUV

                 3ODLQWLIIV6LQHVDQG5RPHURKHDUGWKHPDUFKHUVFKDQWLQJVORJDQVFKRVHQIRUWKHLU

 LQWLPLGDWLQJDQGUDFLDOO\KDUDVVLQJHIIHFW7KHVHVORJDQVLQFOXGHG³<RXZLOOQRWUHSODFHXV´

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 5RPHURDOVRKHDUGWKHPDUFKHUVFKDQW³JREDFNWRZKHUH\RXFDPHIURP´DQDSSDUHQWUHIHUHQFH

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 DFWLRQVZHUHLQWHQWLRQDOO\FKRVHQIRUWKHLUUDFLDOO\WKUHDWHQLQJLQWLPLGDWLQJDQGKDUDVVLQJHIIHFW

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 SHRSOHEODFNSHRSOHDQGWKHLUDOOLHVVKRXOGEHDIUDLGIRUWKHLUVDIHW\OLYHOLKRRGVDQGOLYHV

                       7KH$WWDFNDWWKH5RWXQGD

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 +XQGUHGVRIQHR1D]LVDQGZKLWHVXSUHPDFLVWVLQFOXGLQJ'HIHQGDQWV.HVVOHUDQG6SHQFHU

 FKDUJHGWRZDUGDVPDOOJURXSRIIHZHUWKDQSHRSOHPRVWO\VWXGHQWVDQGFRPPXQLW\

 PHPEHUVLQFOXGLQJ3ODLQWLIIV-RKQ'RHDQG5RPHURZKRKDGORFNHGDUPVDURXQGWKHVWDWXHRI

 7KRPDV-HIIHUVRQ

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 5RWXQGDDQGVWUHDPHGWRZDUGWKH-HIIHUVRQVWDWXHWKH\FRQWLQXHGWRVKRXW³%ORRGDQGVRLO´

 ³-HZVZLOOQRWUHSODFHXV´DQG³<RXZLOOQRWUHSODFHXV´DQGWREDUNOLNHGRJV7KH\DOVRPDGH

 PRQNH\QRLVHVDWWKHEODFNSURWHVWHUV3ODLQWLII-RKQ'RHRQHRIWKHIHZ$IULFDQ$PHULFDQPHQ

 SUHVHQWZDVWHUULILHGDQGIHDUHGIRUKLVOLIH3ODLQWLII5RPHURRQHRIWKHIHZ+LVSDQLF

 $PHULFDQVSUHVHQWKDGQHYHUEHHQPRUHDIUDLGLQKHUHQWLUHOLIH

                 $VWKH\UHDFKHGWKHVWDWXH'HIHQGDQWVDQGFRFRQVSLUDWRUVVWRRGVKRXOGHUWR

 VKRXOGHUDQGHQFLUFOHGWKHVWXGHQWVWRWUDSWKHP6HHLQJWKHPREVXUURXQGWKHVWXGHQWV0DJLOO

 ZKRKDGIROORZHGWKHZKLWHVXSUHPDFLVWVDQGZDVZDUQLQJRWKHUVWRVWHHUFOHDUUDQWKURXJKWKH

 FURZGDQGORFNHGDUPVZLWKWKHVPDOOJURXSZKLFKLQFOXGHG3ODLQWLIIV-RKQ'RHDQG5RPHUR

 2QHFRFRQVSLUDWRU\HOOHG³ZHQHHGVRPHPRUHSHRSOHWRILOOLQWKLVZD\WREORFNWKHVHSHRSOH

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 VHUYHUSRVWHGDWZHHWIURP+DWHZDWFKVD\LQJ³$QWLIDVFLVWVDUHVXUURXQGHGE\KXQGUHGVRI

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 FODLPHGWKDWWKHJURXSRIZKLWHVXSUHPDFLVWV³ZHQWWKURXJK>WKHSURWHVWRUV@OLNHVKLWWKURXJKD

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 /RRNLQJGRZQDWWKHIOXLGRQWKHLUFORWKLQJZKLFKWKH\IHDUHGZDVIXHORURWKHUIODPPDEOH

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 &R&RQVSLUDWRUVDQGRWKHUVWKHQWKUHZWKHLUOLWWRUFKHVWKURXJKWKHDLUDLPHGDQGGLUHFWHGDW

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 VHHQ´7KHVDPHSKRWRZDVUHWZHHWHGE\'HIHQGDQW0RVOH\XQGHUDFDSWLRQ³+HSURWHFW+H

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 DVDQ$IULFDQ$PHULFDQPDQLIKHKDGWULHGWRHVFDSHEHIRUHWKHJURXSGLVSHUVHGKHZRXOGKDYH

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 6SHQFHUVSRNHEULHIO\WRWKHFURZGVD\LQJ³:HRZQWKHVHVWUHHWV:HRFFXS\WKLVJURXQG´

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 WKHXQODZIXOSODQGHYHORSHGE\'HIHQGDQWVWKURXJKWKHLUFRQVSLUDWRULDODFWVLQWKHZHHNVDQG

 PRQWKVSUHFHGLQJWKHVHHYHQWVDQGDVRSHUDWLRQDOL]HGDQGPRGLILHGE\'HIHQGDQWVLQUHVSRQVH

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 LQWLPLGDWLRQDQGKDUDVVPHQW7KHDWWDFNVXSRQWKHVWXGHQWVZHUHFRRUGLQDWHGERWKLQDGYDQFH

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 WUDSSLQJWKHVWXGHQWVDQGHLWKHUGLUHFWO\SDUWLFLSDWHGLQWKHHQVXLQJYLROHQFHRUFRQWLQXHGWR

 LQFLWHLW²LQFOXGLQJWKURXJKWKHFKDQWVGHVFULEHGDERYH²DVWKHYLROHQFHZDVRFFXUULQJ

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 3DXO¶V&KXUFKOLVWHQLQJWRFLYLOULJKWVDQGUHOLJLRXVOHDGHUVVSHDNRISHDFHDQGHTXDOLW\$WOHDVW

 RQHZKLWHVXSUHPDFLVW'HIHQGDQWV¶FRFRQVSLUDWRUZDVZLWKLQWKHFKXUFKOLYHVWUHDPLQJWKH

 LQWHUIDLWKVHUYLFHWRKLVIROORZHUV

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 WRZDUGVWKHFKXUFKWRFDXVHYLROHQFHWRWKHEXLOGLQJDQGWKHLQGLYLGXDOVLQVLGHSDUWLFXODUO\JLYHQ

 WKHUDFLDODQGUHOLJLRXVPDNHXSRIWKHDVVHPEOHGJURXSDQGWKHIDFWWKDW'HIHQGDQW.HVVOHUKDG

 VSHFLILFDOO\WDUJHWHG&RQJUHJDWHLQDGYDQFHIRUKDUDVVPHQWDQGLQWLPLGDWLRQ

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 5RWXQGD3ODLQWLII:LVSHOZH\UHDVRQDEO\DSSUHKHQGHGWKDWIRUFHZRXOGEHXVHGDJDLQVWWKRVH

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 LQGLYLGXDOVZKRZHUHSDUWLFXODUO\YXOQHUDEOHWRDQ\YLROHQFHWKDWFRXOGRFFXU$FFRUGLQJO\D

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 FRQVSLUDWRUVFDUU\LQJEDVHEDOOEDWVDQGWRUFKHV²FDUULHGIRUWKHSXUSRVHRIWKUHDWHQLQJ

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 ZURWH³,QFUHGLEOHPRPHQWIRUZKLWHSHRSOHZKR¶YHKDGLWXSWRKHUH DUHQ¶WJRLQJWRWDNHLW

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 KDUDVVPHQW'HIHQGDQWV.HVVOHU&DQWZHOO0RVOH\+HLPEDFK+LOO,QYLFWXV5D\6SHQFHU

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 UHVWRI7:3DQG/6>/HDJXHRIWKH6RXWK@KDYHEHHQWRPRUHWKDQRQHURGHR$QGVKLW160

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 SDUNDVHDUO\DVSRVVLEOHDQGGHIHQGRXUWHUULWRU\´+HVXJJHVWHGWKDWFDPSLQJRXWDWWKH

 PRQXPHQWWKHQLJKWEHIRUHZRXOGJLYHWKHP³>W@KHPRVWH[WUHPHO\SUHSDUHGSRVLWLRQ´,QWKHVH



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 UHPDUNV.HVVOHUUHIHUUHGWR DQGDFWLYHO\HQFRXUDJHG SUHSDUDWLRQIRUYLROHQFHDJDLQVWUDFLDODQG

 UHOLJLRXVPLQRULWLHVDQGDQ\RQHZKRVXSSRUWHGWKHLUFDXVH

                 $FRFRQVSLUDWRUDVNHGWKH'LVFRUGJURXS³6RDUHZHJRLQJWRRFFXS\YHU\

 HDUO\"2UWU\DQGIRUFHWKLVFRPPLHVFXPRXWDIWHUWKHIDFW",¶PJRRGZLWKHLWKHU´$QRWKHU

 SDUWLFLSDQWUHVSRQGHG³:HZLOOEHILQHDVORQJDVZHKDYHERGLHVWKHUHDQGZLOOLQJWRUHPRYH

 ZKRHYHULVLQRXUZD\9DQJXDUGLVIDEULFDWLQJDGGLWLRQDOVKLHOGV:HVKRXOGKDYHDJRRG

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                 &RQVLVWHQWZLWKWKHFRQVSLUDF\¶VHIIRUWWRRUJDQL]HDQGPD[LPL]HYLROHQWDFWVD

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 IRUPDWLRQUROHVDQGFRPPDQGVWRDOORIWKHJURXSOHDGHUVVKRUWO\´DQGSRVWHGD³6KLHOGV 

 6KLHOG7DFWLFV3ULPHU´PDGHE\WKH³'HWURLW5LJKW:LQJV´DVZHOODVDYLGHRLOOXVWUDWLQJVKLHOG

 ILJKWLQJWHFKQLTXHVWREHVWXGLHGE\SDUWLFLSDQWV'HIHQGDQW0RVOH\VDLG³,UXQWKLV>WKH8QLWH

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                 )RXUPHPEHUVRI'HIHQGDQWV1DWLRQDOLVW)URQW/HDJXHRIWKH6RXWK1607:3

 DQG9DQJXDUG$PHULFDPHWDWDSUHVHWORFDWLRQLQRUGHUWRPDUFKWR(PDQFLSDWLRQ3DUNLQ

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 SRORVDQGNKDNLVDQGZLHOGHGPDWFKLQJVKLHOGVDQGIODJV'HIHQGDQW)LHOGV ZKRZDVZHDULQJ

 WKHXQLIRUPZKLWHSRORNKDNLVDQGFDUU\LQJDEODFNVKLHOGZLWKWKH9DQJXDUGORJR PDUFKHG

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                 'HIHQGDQW7:3PDUFKHGEHKLQG'HIHQGDQW/HDJXHRIWKH6RXWKDQG'HIHQGDQW

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                 $VWKH1DWLRQDOLVW)URQWJURXSVDQGRWKHU'HIHQGDQWVDQGFRFRQVSLUDWRUV

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 VWDWHPHQWVOLNH³*HWWKHIXFNRXWRIRXUFRXQWU\ELWFKHV<HDKFRPHXSWRPH&RPHXSWRPH

 ELWFK´

                 0DUFKLQJGRZQ-HIIHUVRQ6WUHHW'HIHQGDQWVDQGFRFRQVSLUDWRUVSDVVHGWKH

 V\QDJRJXHZKHUH3ODLQWLII3HDUFHLVDPHPEHU'XULQJWKH6KDEEDWVHUYLFHVWKUHHFR

 FRQVSLUDWRUVLQXQLIRUPVDQGVHPLDXWRPDWLFULIOHVVWRRGDFURVVIURPWKHWHPSOH$VRWKHUV

 SDUDGHGSDVWWKH\VKRXWHG³7KHUH¶VWKHV\QDJRJXH´IROORZHGE\FKDQWVRI³6LHJ+HLO´DQG

 RWKHUDQWL6HPLWLFODQJXDJH6RPHFDUULHGIODJVZLWKVZDVWLNDVDQGRWKHU1D]LV\PEROV

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 YLWULROLFUDJLQJQRQLURQLFKDWUHG´DQGVR³>W@KHXQGRFWULQDWHGVKRXOGQRWEHDEOHWRWHOOLIZHDUHMRNLQJRUQRW
 7KHUHVKRXOGDOVREHDFRQVFLRXVDZDUHQHVVRIPRFNLQJVWHUHRW\SHVRIKDWHIXOUDFLVWV´%XWDFFRUGLQJWR'HIHQGDQW
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                         RI GHJHQHUDWHV DQG 7UDG:RUNHU PDQDJHG WR HQWHU WKH /HH 3DUN
                         YHQXHLWVHOIZKLOHWKH\ZHUHODUJHO\VWLOOUHHOLQJ0LFKDHO7XEEVDQ
                         HVSHFLDOO\ LPSRVLQJ /HDJXH RUJDQL]HU WRZHUHG RYHU DQG SXVKHG
                         WKURXJK WKH DQWLID OLNH D 7\UDQQRVDXUXV DPRQJ UDSWRUV DV OHDJXH
                         ILJKWHUVZLWKVKLHOGVSXWWKHLUWUDLQLQJWRZRUN

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 LQVLGH(PDQFLSDWLRQ3DUNOHGE\DPRQJRWKHUV'HIHQGDQWV6FKRHS+LOO+HLPEDFKDQG

 3DUURWW'HIHQGDQW3DUURWWH[SODLQHGWKDWWKH\KDG³VWXFNZLWKWKHRULJLQDOSODQWRGHILQHDQG

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                 2QFHLQVLGHWKH3DUN'HIHQGDQWV¶UDFLDOUHOLJLRXVDQGHWKQLFDOO\PRWLYDWHG

 YLROHQFHGLGQRWVWRS,WHVFDODWHG

                 $VWKH\KDGSODQQHG'HIHQGDQWVXVHGWKHLUVKLHOGVDQGURGVWRSORZWKURXJK

 SHRSOHDQGNQRFNWKHPRYHU7KH\XVHGURGVDQGIODJVWRDVVDXOWSURWHVWHUV


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 'DLO\6WRUPHUWKURXJKDOLYHIHHGPDLQWDLQHGE\'HIHQGDQWV$QJOLQDQG5D\DQGRWKHU'DLO\

 6WRUPHUVWDIIRQWKHJURXQGHQFRXUDJHGIROORZHUVWRRUJDQL]HLQJURXSVDQGGHOLEHUDWHO\LQFLWHG

 WKHPWRHQJDJHLQYLROHQWDFWV$PRQJRWKHUH[KRUWDWLRQVWKH\WROGIROORZHUV³:+,7(

 6+$5,$12:´DQG³:(+$9($1$50<7+,6,67+(%(*,11,1*2)$:$5´

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 )URQWVHUYHUVKDULQJOLYHIHHGVWUHDPVDQGHQFRXUDJLQJFRFRQVSLUDWRUVRQWKHJURXQGLQ

 &KDUORWWHVYLOOHWR³-XVWLQFLWHDULRWDOUHDG\´2QHFRFRQVSLUDWRURQWKH$QWLFRP'LVFRUGVHUYHU

 UHSRUWHGWRWKHJURXS³9DQJXDUGVKLHOGVDUHKROGLQJWKHOLQH´

                 +DYLQJZLWQHVVHGWKHHYHQWVRI)ULGD\DQGWKHDQWL6HPLWLFFKDQWVRIGHIHQGDQWV

 DQGWKHLUFRFRQVSLUDWRUV3ODLQWLII3HDUFHVWUXJJOHGZLWKZKHWKHUVKHVKRXOGDWWHQGWKHSHDFHIXO

 SURWHVWDQGZKHWKHUVKHVKRXOGLGHQWLI\KHUVHOIDV-HZLVK2QWKHRQHKDQGVKHEHOLHYHGWKDWLW

 ZDVLPSRUWDQWWRSHDFHIXOO\SURWHVWEXWVKHDOVRIHDUHGIRUKHUVDIHW\$VVKHOHIWKHUKRXVHVKH

 PDGHD6WDURI'DYLGRXWRIGXFWWDSHDQGDWWDFKHGLWWRKHUVKLUWZKLFKERUHD+HEUHZOHWWHULQ

 UDLQERZFRORUVWRVKRZKHUVXSSRUWIRUWKH/*%7FRPPXQLW\6KHZHQWWR(PDQFLSDWLRQ3DUN

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                 2QHRIWKHUDOO\JRHUVDFRFRQVSLUDWRUVDZ3ODLQWLII3HDUFHRQWKHVWUHHW

 SRLQWHGDWKHUDQGVKRXWHG³2KJRRGWKH\DUHPDUNLQJWKHPVHOYHVIRUXVVRLWLVHDV\WRILQG

 WKHP´$WWKH3DUN3HDUFHZDVMRLQHGE\KHUVRQZKRDOVRZRUHD6WDURI'DYLGDQGFDUULHGD

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 KHUVROLGDULW\ZLWKRWKHU-HZLVKDQGQRQZKLWHPHPEHUVRIKHUFRPPXQLW\DQRWKHUZKLWH

 VXSUHPDFLVWDQGFRFRQVSLUDWRUWKUHZDQRSHQERWWOHILOOHGZLWKDIRXOOLTXLGDWKHU²DFRPPRQ

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 WDFWLFRI'HIHQGDQWVDQGWKHLUFRFRQVSLUDWRUV,QGHHGLQDGYDQFHRIWKHUDOO\FRFRQVSLUDWRUV

 KDGHQFRXUDJHGRWKHUVWR³>S@HHLQEDOORRQVDQGWKURZWKHPDWFRPPXQLVWV,QVHOIGHIHQVH´

 DQGWR³>I@HHOIUHHWRXULQDWHDQGGHIDFDWHRQ\RXUQHDUHVWDQWLIDWHUURULVWIDJJRWSXVV\´7KH

 ERWWOHVWUXFN3HDUFHRQKHUOHJDQGVKHFRXOGVPHOOWKHIRXOOLTXLGRQKHUERG\

                 ,QVKRUWRUGHUSHDFHIXOSURWHVWHUVLQFOXGLQJ3ODLQWLIIV:LVSHOZH\DQG3HDUFH

 ZHUHIRUFHGWROHDYHWKHDUHDRI(PDQFLSDWLRQ3DUNDV'HIHQGDQWVDQGFRFRQVSLUDWRUVDWWDFNHG

 SHRSOHZLWKFOXEVVPRNHERPEVDQGSHSSHUVSUD\LQIXOILOOPHQWRIWKHLUSUHPHGLWDWHGVWUDWHJ\

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                       7KH$XWKRULWLHV'HFODUHGWKH5DOO\DQ8QODZIXO$VVHPEO\DQG'HIHQGDQWVDQG
                         &R&RQVSLUDWRUV,QWHQWLRQDOO\6SUHDGWKH9LROHQFH2XWVLGH(PDQFLSDWLRQ3DUN

                 %\DPEHIRUHWKHSHUPLWIRUWKH³UDOO\´HYHQEHJDQ&KDUORWWHVYLOOH

 RIILFLDOVGHFODUHGWKHJDWKHULQJLQ(PDQFLSDWLRQ3DUNDQXQODZIXODVVHPEO\GHILQHGXQGHU

 9LUJLQLDODZDV³ZKHQHYHUWKUHHRUPRUHSHUVRQVDVVHPEOHGVKDUHWKHFRPPRQLQWHQWWRDGYDQFH

 VRPHODZIXORUXQODZIXOSXUSRVHE\WKHFRPPLVVLRQRIDQDFWRUDFWVRIXQODZIXOIRUFHRU

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                 $WDP*RYHUQRU0F$XOLIIHGHFODUHGDVWDWHRIHPHUJHQF\VWDWLQJ³,WLV

 QRZFOHDUWKDWSXEOLFVDIHW\FDQQRWEHVDIHJXDUGHGZLWKRXWDGGLWLRQDOSRZHUVDQGWKDWWKH

 PRVWO\RXWRIVWDWHSURWHVWRUVKDYHFRPHWR9LUJLQLDWRHQGDQJHURXUFLWL]HQVDQGSURSHUW\,DP

 GLVJXVWHGE\WKHKDWUHGELJRWU\DQGYLROHQFHWKHVHSURWHVWRUVKDYHEURXJKWWRRXUVWDWHRYHUWKH

 SDVWKRXUV´

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                 -DVRQ.HVVOHUDQGRWKHU'HIHQGDQWVGLUHFWHGWKHPREWRPRYHWR0F,QWLUH3DUN

 6RPH'HIHQGDQWVDQGFRFRQVSLUDWRUVORDGHGLQWRZKLWHYDQVDQG'HIHQGDQWV&DQWZHOODQG5D\
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 VKDUHGRQHYDQ,QKLVLQWHUYLHZZLWKViceWKDWGD\5D\H[SODLQHG³:H¶UHVKRZLQJWRWKLV

 SDUDVLWLFFODVVRIDQWLZKLWHYHUPLQWKDWWKLVLVRXUFRXQWU\7KLVFRXQWU\ZDVEXLOWE\RXU

 IRUHIDWKHUV,WZDVVXVWDLQHGE\XV,W¶VJRLQJWRUHPDLQRXUFRXQWU\´

                 'DLO\6WRUPHUHQFRXUDJHGLWVIROORZHUVWRJRWR0F,QWLUH3DUNDQGDVVHPEOH

 ³EHKLQG´'HIHQGDQWV5D\DQG&DQWZHOODQGLQFLWHGWKHFURZGWRYLROHQFH




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                 $PRQJWKRVHZKRIROORZHGWKHLUGLUHFWLRQZDV'HIHQGDQW9DQJXDUG$PHULFD

 'HIHQGDQW6FKRHSDOVRPDUFKHGWR0F,QWLUH3DUNDWWDFNLQJSURWHVWRUVDORQJWKHZD\+H

 H[SODLQHG³,ZDVRIIHUHGDULGHWRVDIHW\DQGGHFOLQHGWROHDYHXQWLOWKHZRPHQDQGRWKHUVZHUH

 VDIHVRZHMXVWPDUFKHGEDFNWKURXJKDQWLID:HZHQWULJKWWKURXJK>DQWLID@OLNHZDUULRUV´

 'HIHQGDQW3DUURWWUHIXVHGWROHDYH(PDQFLSDWLRQ3DUNDQGZDVDUUHVWHGE\WKHSROLFHIRUIDLOLQJ

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 PHVVDJHZDVFKRNHGE\FRFRQVSLUDWRU6WHYHQ%DOFDLWLVZKRZDVZHDULQJDWVKLUWDGYHUWLVLQJD

 ZKLWHQDWLRQDOLVWDQGDQWL6HPLWLFZHEVLWH5HG,FH$VKHJUDEEHGKHUQHFNKHORRNHGDWD

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                 'HIHQGDQW6SHQFHUDQG3HLQRYLFKVSRNHWRWKHLUIROORZHUVDW0F,QWLUH3DUN

 3HLQRYLFKFDOOHGWKHFRXQWHUSURWHVWRUV³VDYDJHV´

                 'HIHQGDQWVDW0F,QWLUH3DUNGLVFXVVHGUHWXUQLQJWR(PDQFLSDWLRQ3DUNLQGHILDQFH

 RISROLFHRUGHUV'HIHQGDQW0RVOH\VRXJKWSHRSOHZLWKJXQV³,QHHGVKRRWHUV´KHVDLG³:H¶UH

 JRQQDVHQGSHRSOHZLWKORQJULIOHVEDFNWRWKDWVWDWXH´$FFRUGLQJWRD'HIHQGDQW160

 WZLWWHUDFFRXQW'HIHQGDQW6FKRHS³OHGDJURXSRIEDFNWKHPLOHVIURPWKHQGSDUNEDFN

 WR/HH3DUNWKURXJK$QWLIDDQGSROLFHLQWHUIHUHQFH´7KH\MHHUHG³6RPXFKUHVSHFWIRUP\

 &RPPDQGHU-HII6FKRHS,ZLOOJRLQWREDWWOHZLWK\RXDQ\WLPH6LU´

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                 6RPH'HIHQGDQWVDQGFRFRQVSLUDWRUVVWD\HGLQWKHSDUNVZKLOHRWKHUVGLVSHUVHG

 DQGEHJDQWRWHUURUL]HUHVLGHQWVLQWKHGRZQWRZQDUHDRI&KDUORWWHVYLOOHQHDUWKHSHGHVWULDQPDOO

 0XxL]ZHDULQJDWVKLUWZLWKDUHSUHVHQWDWLRQRIZRPHQRIFRORUZLWQHVVHGWKHPDUFKHUVZDON

 EDFNWRWRZQIURP0F,QWLUH3DUNDQGWKHQIROORZHGKHUVHOIWRMRLQDJURXSRISHDFHIXOFRXQWHU

 GHPRQVWUDWRUV

                 2QWKHPDOO'HIHQGDQWVDQGFRFRQVSLUDWRUVDJDLQEURXJKWYLROHQFH2QHFR

 FRQVSLUDWRUIRUH[DPSOHZDVFDXJKWRQYLGHRSXQFKLQJWZRSHDFHIXOFRXQWHUSURWHVWRUVGLUHFWO\

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 SURWHVWFDWFKSKUDVHDQGVKRZVXSLQPHPHVDQGFRPPHQWVDFURVVWKH,QWHUQHW,QODWH-DQXDU\

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 SXVKHGRXWRIWKHZD\E\FDUVDQGWUXFNV´DQG³6WXG\WKHWHFKQLTXHLWPD\SURYHXVHIXOLQWKH

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 DQGRWKHUV'HIHQGDQW+HLPEDFKHQFRXUDJHGDSROLFHFDUWRPRZGRZQSHDFHIXOSURWHVWRUV$QDUWLFOHUHSRUWVWKDW
 +HLPEDFKZDVZDONLQJQHDUWKHSDUDGHURXWHZKHQKHHQFRXQWHUHGDJURXSRIGHPRQVWUDWRUVKROGLQJVLJQVDERXW
 ZDWHUSUHVHUYDWLRQ$EODFN689ZLWKSROLFHSODWHVGURYHXSDQGVWRSSHGLQIURQWRIWKHGHPRQVWUDWRUV$QRIILFHU
 OHDQHGRXWWKHZLQGRZDQGDVNHGWKHPWRVWHSDVLGHVRWKDWWKH\FRXOGSDVV³'RQ¶WVWRSRIILFHU´VKRXWHG
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 'LVFRUGIRUH[DPSOHLQUHVSRQVHWRDSRVWIURP7\URQHWKDWLI³VRPHWKLQJKDSSHQV

 DGMXVWPHQWVZLOOKDYHWREHPDGHWRUHPRYHSHRSOHIURPWKHVFHQH´FRFRQVSLUDWRU

 ³$OW&HOW ,/ ´UHVSRQGHGZLWKDQLPDJHIURPDIDPRXVVFHQHLQWKHPRYLHDawn of the DeadLQ

 ZKLFKWKHSURWDJRQLVWVUHWURILWEXVHVZLWKFKDLQVDZVDQGEDUEHGZLUHWRHVFDSHDPDOOE\UXQQLQJ

 RYHUWKRXVDQGVRIVZDUPLQJ]RPELHV$OW&HOW ,/ DGGHGD³FU\LQJODXJKLQJ´HPRMLDQGZURWH

 ³7KLVZLOOEHXV´
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                 7\URQHUHSOLHGZLWKSLFWXUHRID-RKQ'HHUHWUDFWRUFDSWLRQHG³,QWURGXFLQJ-RKQ

 'HHUH¶VQHZPXOWLODQHSURWHVWRUGLJHVWRU´DQGFRPPHQWHG³,NQRZ1&ODZLVRQWKHERRNVWKDW

 GULYLQJRYHUSURWHVWHUVEORFNLQJURDGZD\LVQ¶WDQRIIHQVH«6XUHZRXOGEHQLFH´




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                 2QWKHVDPHGD\ -XO\ 7\URQHDVNHGWKHYLUJLQLDBODZVFKDQQHO³Is it

 legal to run over protestors blocking roadways? I’m NOT just shitposting. I would like

 clarification. I know it’s legal in NC and a few other states. I’m legitimately curious for the

 answer.´7ZRSDUWLFLSDQWVUHDFWHGWRWKLVSRVWZLWKUHGKHDUWHPRMLV

                 $QRWKHUFRFRQVSLUDWRURQ'LVFRUGXVLQJWKHYLUJLQLDBODZVFKDQQHOSRVWHGD

 SKRWRRIDQDUPRUHGPLOLWDU\WDQNDQGZURWH³,VWKLVOHJDOLQ9$"´(OHYHQSDUWLFLSDQWV

 UHVSRQGHGZLWKHPRMLVH[SUHVVLQJDSSURYDO

                 6LPLODUO\ZKHQ'HIHQGDQW.HVVOHUDVNHGWKHGHPRQVWUDWLRQBWDFWLFVFKDQQHOIRU

 DGYLFHRQSODQQLQJDPDUFKRQHFRFRQVSLUDWRU³3ULPLWYH;DRF´HQFRXUDJHGWKHXVHRI

 VLGHZDONVEHFDXVH³VWUDLJKWWKURXJKWKHVWUHHWVOLNHWKH\GLGDIHZZHHNVDJRIRUWKHµFRPPXQLW\

 GHIHQVH¶0DUFKZDVDZIXO $QWLID ´+HSRVWHGVHYHUDOSKRWRVIURPWKDWPDUFKDQGZURWH

 ³7KHVHIRROVKDGEDELHVDQGFKLOGUHQLQWKHVWUHHWVGUDJJLQJEDQQHUVRYHUFDUVEORFNLQJWKHLU


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 YLHZDQGVXFK7RREDGWKHFLYLOLDQVGLGQ¶WMXVWPDNHQHZVSHHGEXPSVIRUVRPHRIWKHVH

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 PDUFKLQJXS)RXUWK6WUHHWZKHQ)LHOGVDWWDFNHG3ODLQWLII0XxL]KDGZDONHGWRWKHIURQWRIWKH

 FURZGZKHQLWZDVDWWKHLQWHUVHFWLRQRI)RXUWK6WUHHWDQG:DWHU6WUHHWWRWDNHDSLFWXUHRIWKH

 JDWKHULQJ:KHQWKHFURZGWXUQHGOHIWRQWR)RXUWK6WUHHW0XxL]ZDVVWLOOWRZDUGVWKHIURQWRI

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 JURXQGDQGVXVWDLQHGLQMXULHVLQFOXGLQJDKHPDWRPDRQKHUOHIWVLGHDQGDJDVKRQKHUULJKWDUP

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 %DNHUVXIIHUHGVHYHUHLQMXULHVLQFOXGLQJDFRQFXVVLRQWRUQOLJDPHQWLQKLVOHIWZULVWODFHUDWLRQV

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 ZDQWLQJWROLHGRZQDQGFORVHKHUH\HVEXWVKHWKRXJKWWKDWLIVKHFORVHGKHUH\HVDQGJDYHXS

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 KHOSHGKHUGRZQ)RXUWK6WUHHW%HIRUHIDOOLQJXQFRQVFLRXV5RPHURKDGEHJJHGE\VWDQGHUVWR

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                 3ODLQWLII:LVSHOZH\ZDVQRWDW0DUNHW6WUHHWZKHQWKHFDUDWWDFNRFFXUUHG:KHQ

 KHOHDUQHGRIZKDWKDSSHQHGKHVSULQWHGWRWKHVLWHZLWKRWKHUFOHUJ\WRSURYLGHDVVLVWDQFHWR

 VXSSRUWYLFWLPVDQGWRKHOSFRQWUROWKHFURZGVVRWKDWPHGLFDOYHKLFOHVFRXOGUHDFKYLFWLPV

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 $PHULFDUHDVVXUHGFRFRQVSLUDWRUVRQWKH6RXWKHUQ)URQW'LVFRUGVHUYHU³,¶PVDIHZLWKD

 GR]HQRUVRJX\VKDQJLQJRXWDWDKRWHOVKDULQJVWRULHVRIWKHGD\´

                 'HIHQGDQW6FKRHSWZHHWHG³,WZDVDQ+RQRUWRVWDQGZLWK8DOOLQ&¶9LOOHWKLV

 ZHHNQG1601)7:3/269$(&.&+6DQGWKHUHVWWUXHZDUULRUV´³.QHXVV´DQG

 RWKHUFRFRQVSLUDWRUVUHWZHHWHGDQGOLNHGWKLV$FRFRQVSLUDWRUSRVWHGRQ)DFHERRN³'RQ¶WIHHO

 DVKDPHGRI&YLOOH7KLVLV\RXUIXWXUH7KLVLVWKHHQHP\´

                 6SHDNLQJRI&KDUORWWHVYLOOHLQDQLQWHUYLHZWKH*UDQG'UDJRQIRU'HIHQGDQW

 /R\DO:KLWH.QLJKWVVDLG³,¶PVRUWDJODGWKDWWKHPSHRSOHJRWKLWDQG,¶PJODGWKDWJLUOGLHG

 7KH\ZHUHDEXQFKRI&RPPXQLVWVRXWWKHUHSURWHVWLQJDJDLQVWVRPHERG\¶VIUHHGRPRIVSHHFK

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 VRLWGRHVQ¶WERWKHUPHWKDWWKH\JRWKXUWDWDOO´'HIHQGDQW/R\DO:KLWH.QLJKWVDOVRFKDQJHG

 WKHLURXWJRLQJYRLFHPDLOPHVVDJHWRVD\³1RWKLQJPDNHVXVPRUHSURXGDWWKH...WKDQZH

 VHHZKLWHSDWULRWVVXFKDV-DPHV)LHOGV-UDJHWDNLQJKLVFDUDQGUXQQLQJRYHUQLQH

 FRPPXQLVWDQWLIDVFLVWNLOOLQJRQHQLJJHUORYHUQDPHG+HDWKHU+H\HU-DPHV)LHOGVKDLO

 YLFWRU\,W¶VPHQOLNH\RXWKDWKDYHPDGHWKHJUHDWZKLWHUDFHVWURQJDQGZLOOEHVWURQJDJDLQ´

                 /LNHZLVH'HIHQGDQW6SHQFHUWROGWKHNew York Times WKDW$XJXVWZDV³D

 KXJHPRUDOYLFWRU\´'HIHQGDQW&DQWZHOOWROGDViceUHSRUWHU³,¶GVD\LWZDVZRUWKLW1RERG\

 RQRXUVLGHGLHGQRQHRIRXUSHRSOHNLOOHGDQ\ERG\XQMXVWO\RXUULYDOVDUHMXVWDEXQFKRI

 VWXSLGDQLPDOVZKRGRQ¶WSD\DWWHQWLRQWKDWFRXOGQ¶WMXVWJHWRXWRIWKHZD\RIWKHFDU´

 6SHDNLQJRIFRXQWHUSURWHVWHUVOLNH3ODLQWLIIVKHVDLG³7KHVHSHRSOHZDQWYLROHQFHDQGWKHULJKW

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                 ,QDGGLWLRQWRFHOHEUDWLQJWKH$XJXVW³UDOO\´DVDVXFFHVV3ODLQWLII5RPHUR

 FRQWLQXHGWREHKDUDVVHGDQGLQWLPLGDWHG)ROORZLQJKHUUHOHDVHIURPWKHKRVSLWDO5RPHUR

 UHFHLYHGWKUHHPRUHSKRQHFDOOVIURPWKHVDPH.ODQVPDQZKRKDGKDUDVVHGKHULQ-XO\2Q

 WKHVHSKRQHFDOOVWKHPDQH[SODLQHGWKDWKHZDVWU\LQJWRVHOOVLOYHU'RGJH&KDOOHQJHUV²WKH

 FRORUPDNHDQGPRGHOXVHGE\'HIHQGDQWV)LHOGVLQKLVFDUDWWDFN²LQ&KDUORWWHVYLOOH)LYH

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                 /DWHU5RPHURUHFHLYHGDIRXUWKFDOODJDLQIURPWKHVDPHLQGLYLGXDOLQZKLFKWKH

 FDOOHUVDLG³'RQ¶W\RXKDWHLWZKHQWKHUHDUHUDQGRPSHGHVWULDQVEORFNLQJWKHURDGDQGVKLWOLNH

 WKDW"7KHUHZDVRQHJLUOQDPHG1DWDOLH5RPHURVKHJRWFDXJKWLQWKHDFFLGHQW"6KHVKRXOG

 KDYHGLHGLQWKHKRVSLWDO´7KHVHFDOOVWHUULILHG5RPHURDQGVKHFRQWLQXHVWRZRUU\DERXWKHU

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                 3ODLQWLII5RPHURDQGVHYHUDORWKHURIWKH3ODLQWLIIVDOVRDSSHDUHGRQDOLVW

 SXUSRUWLQJWRLGHQWLI\³PHPEHUVRI$QWLID´ZKRKDGDWWHQGHGWKH$XJXVW³UDOO\´7KHOLVW

 LGHQWLILHGZKRKDGEHHQLQMXUHGDQGZKRDPRQJWKRVH³PHPEHUVRI$QWLID´ZHUH³NQRZQWREH

 YLROHQW´1RQHRIWKH3ODLQWLIIVZHUHLGHQWLILHGRQWKHOLVWDVDPRQJWKRVH³NQRZQWREH

 YLROHQW´7KHOLVWZDVFUHDWHGE\DIRUPHUPHPEHURI'HIHQGDQW,GHQWLW\(YURSDZKRWKHQ

 MRLQHG9DQJXDUG$PHULFDLQ-XO\DQGEHFDPHDQDFWLYHSDUWLFLSDQWRQLWV6RXWKHUQ)URQW

 'LVFRUGVHUYHUEUDJJLQJ³,UHDOO\FDQKHOSWUDFNPRVW$QWLID´DQG³>P@\LQIRLVJRRGDQG,ZLOO

 GRHYHU\WKLQJ,FDQWRKHOS9$>9DQJXDUG$PHULFD@´

                 7KHOLVWKHFUHDWHGZDVFLUFXODWHGRQ*DED7ZLWWHUOLNHVRFLDOPHGLDVLWHZKHUH

 QHR1D]LVDQGZKLWHVXSUHPDFLVWVPDQ\RIZKRPKDYHEHHQNLFNHGRIIRIWUDGLWLRQDOVRFLDO

 PHGLDSODWIRUPVVKDUHDQGSRVWLQIRUPDWLRQ2Q*DEDWOHDVWRQHGLVWULEXWLRQRIWKHSXUSRUWHG

 ³$QWLID´OLVWZDVGLUHFWHGWR'HIHQGDQW&DQWZHOODPRQJRWKHUV

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 $            7KH8QODZIXO$FWV%\'HIHQGDQWV&R&RQVSLUDWRUVDQG2WKHUV
                $FWLQJDW7KHLU'LUHFWLRQ&DXVHG6HULRXV,QMXU\,QFOXGLQJ7R3ODLQWLIIV

                            'HIHQGDQWV¶$FWLRQV&DXVHG6HULRXV%RGLO\,QMXU\DQG'DPDJHWR3URSHUW\

                 7KHSODQQHGYLROHQFHEURXJKWDERXWE\'HIHQGDQWVLQ&KDUORWWHVYLOOHRQ

 $XJXVWDQGOHIWDQLQGHOLEOHPDUNRQ3ODLQWLIIV&KDUORWWHVYLOOHDQGWKHUHVWRIWKHFRXQWU\

 7KUHHLQQRFHQWSHRSOHORVWWKHLUOLYHVDSHDFHIXOSURWHVWRU+HDWKHU+H\HUDQGWZRVWDWHODZ

 HQIRUFHPHQWRIILFHUV/LHXWHQDQW+-D\&XOOHQDQG7URRSHU3LORW%HUNH00%DWHV$WOHDVW

 LQGLYLGXDOVLQFOXGLQJ3ODLQWLIIVZHUHLQMXUHGDQGFRXQWOHVVRWKHUVZHUHYLFWLPVRIDVVDXOW

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 UDFLVW[HQRSKRELFDQGKRPRSKRELFPHVVDJHV

                 &RXQWOHVVSXEOLFRIILFLDOVLQFOXGLQJ9LUJLQLD¶VJRYHUQRU7HUU\0F$XOLIIH

 $WWRUQH\*HQHUDO-HII6HVVLRQVDQG6HQDWRUV&RU\*DUGQHU7HG&UX]DQG5RQ:\GHQKDYH

 UHFRJQL]HGWKDWWKH8QLWHWKH5LJKW³UDOO\JRHUV´ZHUHPRWLYDWHGE\UDFLVP[HQRSKRELDDQGDQWL

 6HPLWLVPWKDWWKH³UDOO\JRHUV´HQJDJHGLQKDWHEDVHGYLROHQFHDQGWKDWWKHHYHQWVWKDWXQIROGHG

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                 2Q6HSWHPEHU&RQJUHVVSDVVHGDXQDQLPRXVDQGELSDUWLVDQMRLQW

 UHVROXWLRQ³UHMHFWLQJZKLWHQDWLRQDOLVWVZKLWHVXSUHPDFLVWVWKH.X.OX[.ODQQHR1D]LVDQG

 RWKHUKDWHJURXSV´UHFRJQL]LQJWKDWWKH\HQJDJHGLQD³KRUULILFDQGYLROHQWGLVSOD\RIELJRWU\´LQ

 &KDUORWWHVYLOOHDQGFRQGHPQLQJ³WKHYLROHQFHDQGGRPHVWLFWHUURULVWDWWDFNWKDWWRRNSODFH

 GXULQJHYHQWVEHWZHHQ$XJXVWDQG$XJXVW´

                 7KHMRLQWUHVROXWLRQDOVRGRFXPHQWHGWKDWWKHKDWHEDVHGJURXSVDUH³RUJDQL]LQJ

 VLPLODUHYHQWV´DURXQGWKHFRXQWU\DQGXUJHGWKH3UHVLGHQWWR³VSHDNRXWDJDLQVWKDWHJURXSVWKDW

 HVSRXVHUDFLVPH[WUHPLVP[HQRSKRELDDQWL6HPLWLVPDQGZKLWHVXSUHPDF\´DQGDGGUHVV³WKH

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                 3UHVLGHQW7UXPSVLJQHGWKHUHVROXWLRQDQGLVVXHGDVLJQLQJVWDWHPHQW³RSSRV>LQJ@

 KDWUHGELJRWU\DQGUDFLVPLQDOOIRUPV´

                       3ODLQWLIIV6XIIHUHG$QG&RQWLQXH7R6XIIHU6HULRXV,QMXULHV

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 VKDWWHUHGWLELDLQKLVOHIWOHJDIUDFWXUHGDQNOHDQGVLJQLILFDQWOLJDPHQWGDPDJH+HXQGHUZHQW

 VXUJHU\DQGKDGWZRVFUHZVSODFHGLQKLVDQNOH+HH[SHULHQFHGVZHOOLQJLQERWKDQNOHVDQGKH

 FRXOGQRWZDONIRURUGD\V+HKDVEHHQWROGWRH[SHFWVZHOOLQJLQKLVOHIWDQNOHIRUDWOHDVWD

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 VXIIHUHGVHYHUHHPRWLRQDOGLVWUHVVWKDWLQFOXGHVKDYLQJPHQWDOIODVKEDFNVWRWKHHYHQWVRIWKH

 ³UDOO\´0DUWLQLVJRLQJWRPHQWDOFRXQVHOLQJWZLFHDZHHNWRVHHNVXSSRUWIRUKLVHPRWLRQDO

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                 3ODLQWLII%ODLU)RUGD\VDIWHUWKHDWWDFN%ODLUIRXQGKHUVHOIVKRUWRIEUHDWK

 VKDNLQJDQGFU\LQJXQFRQWUROODEO\DWWLPHV7RWKLVGD\VKHKDVWURXEOHIRFXVLQJLQFOXGLQJDW

 ZRUNDQGILQGVKHUVHOIRIWHQXQFKDUDFWHULVWLFDOO\DQJU\6KHLVVFDUHGRI'RGJHFKDOOHQJHUVDQG

 ORXGQRLVHV6KHLVDOVRH[SHULHQFLQJIODVKEDFNV6KHLVZLWKGUDZQDQGUHWLFHQWLQZD\VVKH

 QHYHUZDVEHIRUH6KHKDVORVWDERXWWHQSRXQGVVLQFHWKHDWWDFNGXHWRODFNRIDSSHWLWH6KH

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 WRUFKOLJKWUDOO\5RPHURH[SHULHQFHGEXUQLQJLQKHUH\HVDQGRQKHUVKRXOGHUVDQGWKHIHDUDQG

 DQ[LHW\VKHIHOWWKDWQLJKWSUHYHQWHGKHUIURPVOHHSLQJ7KHFDUDWWDFNWKHIROORZLQJGD\OHIW

 5RPHURZLWKVHYHUHSK\VLFDOLQMXULHVDQGHPRWLRQDOWUDXPD5RPHURVXIIHUHGDVNXOOIUDFWXUH

 FRQFXVVLRQVHYHUHFRQWXVLRQVDIUDFWXUHGWRRWKDQGVFUDWFKHVDOORYHUKHUERG\6KHVXIIHUV

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 KRXVH6KHDOVRFDQQRWEHH[SRVHGWREULJKWOLJKWRUORRNDWZKLWHSDSHUZLWKRXWH[SHULHQFLQJ

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 LQMXULHV5RPHURVXIIHUHGVHYHUHHPRWLRQDOWUDXPDDVDUHVXOWRIWKHWRUFKOLJKWUDOO\DQGFDU

 DWWDFN5RPHURGLGQRWUHWXUQWRFDPSXVIRUFODVVHVWKLVIDOOEHFDXVHRIDQ[LHW\DQGIHDU

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 KHUZLWKVHYHUHHPRWLRQDOWUDXPD$OYDUDGRVXIIHUVIURPGHSUHVVLRQZKLFKKDVOHGWRZHLJKW

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                 3ODLQWLII%DNHU%DNHUVXIIHUHGVHYHUHSK\VLFDOLQMXULHVDQGHPRWLRQDOGLVWUHVV

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 DQGVHYHUDOODFHUDWLRQVIURPWKHFDUDWWDFN+LVDUPZDVLQDFDVWIRUVL[ZHHNV+LVLQMXU\

 UHTXLUHGPDMRUVXUJHU\ZLWKDQHLJKWPRQWKUHFRYHU\LQFOXGLQJIRXUPRQWKVRISK\VLFDOWKHUDS\

 DQGIRXUZHHNVRXWRIZRUNWRKHDO+HFDQQRWUXQRUMXPSDQGKHKDGWRJLYHXSVRPHRIKLV

 IDYRULWHDFWLYLWLHVLQFOXGLQJVRFFHUODFURVVHDQGZHLJKWOLIWLQJ%DNHUZLOOOLNHO\QHHGDKLS

 UHSODFHPHQWDVDUHVXOWRIWKHDWWDFN+HVWLOOVXIIHUVIURPWKHVHLQMXULHVDQGFDQQRWXVHKLVKLS

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                 $GGLWLRQDOO\%DNHUFRQWLQXHVWRVXIIHUIURPHPRWLRQDOGLVWUHVV(YHU\GD\

 VLWXDWLRQVQRZPDNHKLPDQ[LRXVDQGFDQWULJJHUIODVKEDFNV+HJHWVSDQLFDWWDFNV+HIHDUHG

 PDNLQJSXEOLFVWDWHPHQWVDERXWKLVH[SHULHQFHIRURYHUPRQWKV%DNHUZDVMXVWLILDEO\DIUDLG

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 SDLQGLIILFXOW\EUHDWKLQJDQGFKURQLFVOHHSLVVXHV+HUHJXODUO\ZDNHVXSZLWKQLJKWWHUURUV

 UHFDOOLQJWKHHYHQWVRI$XJXVWDQGDQGKDVKDGWRWDNHWLPHRIIIURPKLVZRUNLQRUGHUWR

 FRSHZLWKWKHWUDXPDRIWKHZHHNHQG+HKDVVHHQDWUDXPDLQIRUPHGWKHUDSLVWKDVEHHQ

 SURVFULEHGZLWKVOHHSPHGLFDWLRQDQGGLDJQRVHGZLWKDFXWHVWUHVVGLVRUGHU:LVSHOZH\KDVDOVR

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                 3ODLQWLII0XxL]$IWHUH[SHULHQFLQJWKHFDUDWWDFNDQGEHLQJYHUEDOO\KDUDVVHGRQ

 $XJXVW0XxL]KDVVXIIHUHGVHYHUHHPRWLRQDOLQMXU\)RUWKHILUVWZHHNIROORZLQJWKHDWWDFN

 0XxL]FRXOGQRWGULYHDFDU6KHZDVDIUDLGHYHQWREHDSDVVHQJHUZLWKRXWFRYHULQJKHUOHIW

 H\HEHFDXVHWKHVLJKWRIRQFRPLQJWUDIILFZDVWHUULI\LQJ0XxL]KDVVLQFHH[SHULHQFHG

 WULJJHUV²PRPHQWVZKHUHVKHUHOLYHVWKHIHDURIWKDWGD\DQGVKHVKDNHVDQGWUHPEOHV6KHKDV

 VXIIHUHGDIHZHSLVRGHVLQZKLFKVKHKDVIDOOHQWRWKHJURXQGLQDFDWDWRQLFVWDWHDQGFDQGR

 QRWKLQJEXWFU\DQGGURROIRUORQJSHULRGV6KHKDVEHHQVOHHSLQJHUUDWLFDOO\KDVVXIIHUHGVKRUW

 WHUPPHPRU\LVVXHVDQGKDVEHFRPHVRFLDOO\ZLWKGUDZQ6KHKDVEHHQXQDEOHWRREWDLQPHGLFDO

 FDUHIRURWKHUFRQGLWLRQVGXHWRKHUVWUHVVVRVKHFRQWLQXHVWRVXIIHUIURPRWKHUDLOPHQWV6KHLV

 VHHLQJDWKHUDSLVWPXOWLSOHWLPHVSHUZHHNDQGKDVVWDUWHGWKHUDS\IRUSRVWWUDXPDWLFVWUHVV$W

 ZRUN0XxL]XVHGWRPDQDJHDGHSDUWPHQWRIDURXQGWZHQW\SHRSOHZLWKWZRPDQDJHUVEHQHDWK

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                 8QDEOHWRUHWXUQWRZRUN0XxL]ZDVRQOHDYHIRUGLVDELOLW\GXULQJZKLFKWLPHVKH

 ZDVSDLGRIKHUSD\DQGKDVORVWRWKHUILQDQFLDOEHQHILWVVXFKDVWXLWLRQUHLPEXUVHPHQW

 6KHUHWXUQHGWRZRUNRQDUHGXFHGVFKHGXOHRQ1RYHPEHUEXWKHUFRPSDQ\PDGHDGHFLVLRQ

 WKDWVKHLVQRWFDSDEOHRIGRLQJWKDWMREDQ\PRUHVRVKHZDVSODFHGLQDQHZUROHZLWKOHVV

 UHVSRQVLELOLW\0HGLFDOSURIHVVLRQDOVKDYHGLDJQRVHG0XxL]ZLWKDFXWHVWUHVVGLVRUGHU0XxL]

 UHWXUQHGWRZRUNIXOOWLPHRQ-DQXDU\DOWKRXJKLQKHUQHZUROHZLWKOHVVUHVSRQVLELOLW\6KHLV

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 DVVDXOWHG-RKQ'RHKDVVXIIHUHGQXPHURXVHPRWLRQDOLQMXULHV+HKDVKDGGLIILFXOW\IRFXVLQJLQ

 VFKRRODQGLVFRQVWDQWO\UHFDOOLQJWKHWUDXPDRI)ULGD\HYHQLQJ:KHQKHZDONVSDVWWKH7KRPDV

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 $XJXVW6LQFHWKH³UDOO\´-RKQ'RHKDVKDGGLIILFXOW\VOHHSLQJDQGKDVGHYHORSHGD

 KHLJKWHQHGDQ[LRXVVHQVHRIDZDUHQHVVLQSXEOLFVSDFHV-RKQ'RHDOVRKDGWRPLVVWZRZHHNV

 RIZRUN

                 3ODLQWLII6LQHV8SRQZLWQHVVLQJWKHFDUDWWDFNDQGQHDUO\EHLQJKLW6LQHV

 VXIIHUHGH[WUHPHHPRWLRQDOGLVWUHVVDQGVKRFN6KHRIWHQZDNHVXSZLWKQLJKWPDUHVRIWKHFDU

 DWWDFNDQGKHUDFDGHPLFSHUIRUPDQFHKDVVXIIHUHGLQODZVFKRRODVDUHVXOW6LQHVLVXQDEOHWR

 IRFXVDQGKDVPLVVHGFODVVHVGXHWRKHUHPRWLRQDOGLVWUHVV6LQHVLVDOVRQRZK\SHUYLJLODQW

 DQGDIUDLGLQKHURZQKRPH

                 3ODLQWLII3HDUFH,QDGGLWLRQWRWKHSK\VLFDODQGYHUEDOUHOLJLRXVEDVHGDVVDXOW

 3HDUFHH[SHULHQFHGRQ$XJXVWVKHFRQWLQXHVWRVXIIHUVHULRXVHPRWLRQDOGLVWUHVV,QKLV

 +HEUHZVFKRROFODVV3HDUFH¶VVRQZDVDVNHGWRDQVZHUVHYHUDOZULWLQJSURPSWV,QUHVSRQVHWR

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 WKHDWWDFNVKHKDVKDGWRH[SODLQWRKHUVRQZK\WKHUHDUHDOZD\VSROLFHRIILFHUVVWDQGLQJJXDUG

 RXWVLGHWKHV\QDJRJXH

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                ³:H:LOO%H%DFN´

                 ,QWKHZHHNVDIWHUWKH³UDOO\´DQGWKHPDVVRILQMXULHVLQ&KDUORWWHVYLOOH

 'HIHQGDQWVQRWRQO\FODLPHG³YLFWRU\´EXWVZRUHWKDWWKH\ZRXOGUHWXUQ$OUHDG\WKH\KDYH

 IROORZHGWKURXJKRQWKHLUSURPLVH

                 'HIHQGDQW6SHQFHUVDLG³7R0D\RU0LNH6LJQHUDQG:HV%HOODP\DQGDOOWKHVH

 OLWWOHFUHHSVRIWKLVOLWWOHWRZQZKRGRQ¶WXQGHUVWDQGZKRWKH\¶UHGHDOLQJZLWK²WKHORFDOOLWWOH

 ORVHUV²ZHDUHQHYHUEDFNLQJGRZQ:HDUHJRLQJWREHEDFN´

                 'HIHQGDQW$QJOLQZURWHRQ$XJXVW³$VIRUPHGLDUXPRUVWKDWWKH>'DLO\

 6WRUPHU@VLWHZLOOEHVKXWGRZQ<RXVKRXOGNQRZEHWWHU,W¶VJRLQJWRWDNHEXOOHWVWRVWRS

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                 &RFRQVSLUDWRU0F/DUHQWZHHWHG³%URWKHUV VLVWHUVDFURVVWKH$OW5LJKW²WKLV

 LVDWDVWHRIKRZLWIHHOVWREHWKHWLSRIWKHVSHDUHQWHULQJRXUFLYLOL]DWLRQDOFULVLV´$IHZGD\V

 ODWHUKHWZHHWHG³,I\RXZHUHWKHUHLQ&KDUORWWHVYLOOH\RX¶UHDPXVHGDWWKHSURQRXQFHPHQWV

 RIWKH$OW5LJKW¶VGHDWK:HDUHRQO\MXVWEHJLQQLQJ´

                 ³7KHUH¶VQRZD\LQKHOO,¶PQRWJRLQJEDFNWR&KDUORWWHVYLOOH´'HIHQGDQW

 6SHQFHUGHFODUHGDWDSUHVVFRQIHUHQFHZLWK'HIHQGDQW'DPLJR'HIHQGDQW0RVOH\WROGWKH

 +XIILQJWRQ3RVW³2XUSHRSOHDUHIHHOLQJUHDOJRRGULJKWQRZ«7KLVGD\ZDVDPLOHVWRQH

 SXVKLQJXVLQWRRXUQH[WVWDJH:HKDGDODUJHWXUQRXW:H¶UHFRPLQJEDFNWR&KDUORWWHVYLOOH´

                 7KH'DLO\6WRUPHUDOVRYRZHGWKDWLWZRXOGKROGVLPLODUHYHQWV³VRRQ´$SRVW

 RQWKHZHEVLWHUHDG³:HDUHJRLQJWRVWDUWGRLQJWKLVQRQVWRS$FURVVWKHFRXQWU\:HDUH


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 JRLQJWRJRELJJHUWKDQ&KDUORWWHVYLOOH:HDUHJRLQJWRJRKXJH´)XUWKHUPRUHLWWROGUHDGHUV

 WKDW³>Z@HDUHQRZDWZDU´DQGSURPLVHGWR³WDNHRYHUWKHFRXQWU\´

                 'HIHQGDQW.HVVOHUSURPLVHG³:H¶UHJRLQJWRKDYHELJJHUDQGELJJHUHYHQWVLQ

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                 'HIHQGDQWVSODQIRUWKHVHRWKHUHYHQWVWREHYLROHQW$IWHUWKH8QLWHWKH5LJKW

 ³UDOO\´'HIHQGDQW&DQWZHOOH[SODLQHG³,FDPHSUHWW\ZHOOSUHSDUHGIRUWKLVWKLQJWRGD\´ZKLOH

 SXOOLQJRXWWKUHHSLVWROVWZRVHPLDXWRPDWLFPDFKLQHJXQVDQGDNQLIH2IWKHQH[W³DOWULJKW

 SURWHVW´KHVDLG³LW¶VJRLQJWREHWRXJKWRWRSEXWZH¶UHXSWRWKHFKDOOHQJH,WKLQNDORW

 PRUHSHRSOHDUHJRLQJWRGLHEHIRUHZH¶UHGRQHKHUHIUDQNO\´

                 )ROORZLQJKLVUHOHDVHRQERQGIRUWKHRIIHQVHVFRPPLWWHGRQ$XJXVW

 'HIHQGDQW&DQWZHOOUHPDUNHGWKDWDIWHUKLVVWLQWLQSULVRQKHZDQWVWR³WXUQLWXSWR´

                 2QHZHHNDIWHUWKH8QLWHWKH5LJKW³UDOO\´5LFKDUG6SHQFHU¶VZHEVLWH9LQFHQW

 /DZSXEOLVKHG³7KH$OW5LJKWLV)LQLVKHG'HEDWLQJ1R0RUH:RUGV2QO\3UHSDUDWLRQ1RZ´

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                         QHDUIXWXUH6WLOOWKHOLQHVKDYHEHHQGUDZQ7KLQNDERXWWKRVH
                         EUDYH \RXQJ PHQ DW &KDUORWWHVYLOOH 7KHUHLV QR JRLQJ EDFN IRU
                         WKHP

                                 7KH SXEOLF ZLOO VHH YHU\ VRRQ WKDW GHEDWH LV SRLQWOHVV
                         7KHUHDUHQRSULQFLSOHVDWSOD\DQ\PRUH2QO\RXUWULEHDQGWKHLUV
                         $QG RQO\ RQH JURXS RXW WKHUH KDV GUDZQ D OLQH LQ WKH FOD\ DQG
                         GHFLGHGWRPDNHDVWDQGIRUZKDWLVWKHLUVE\ELUWKE\EORRGDQG
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                         VXUUHQGHULQJ:H¶UHUHDG\WRFORVHUDQNVDQGILJKWIRUZKDWLVRXUV
                         3RVW&KDUORWWHVYLOOH RXU IOHHW OLHV DW WKH ERWWRP RI D GHHS DQG
                         WURXEOHGVHDDQGZHFDQRQO\PDUFKRQIRUZDUGOLNH&RUWH]RQFH
                         GLG$QGOLNHKLPZHVWDQGSRLVHGWRFRQTXHUWKHFRQWLQHQW

                 2Q6DWXUGD\2FWREHU'HIHQGDQW6SHQFHUDQGRWKHUFRFRQVSLUDWRUVUHWXUQHGWR

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 DJDLQWKH\FKDQWHG³<RXZLOOQRWUHSODFHXV´%XWWKLVWLPHWKH\DGGHG³:HZLOOEHEDFNZH

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 LQGLFDWHGWKDWLWZLOOSURFHHGQRQHWKHOHVV,WLVVFKHGXOHGWRRFFXURQ$XJXVWDQG

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                 8VLQJPDQ\RIWKHVDPHSODWIRUPVWKH'HIHQGDQWVXVHGWRIXQGWKHLUSUH´UDOO\´

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 DVVRFLDWHGZLWKWKHLUXQODZIXOFRQGXFW

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 FURZGIXQGLQJRQZKLWHVXSUHPDFLVWVXSSRUWLYHVLWHV+DWUHRQDQG*R\)XQG0H&DQWZHOO¶V

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 ³+HLO+LWOHU´ +EHLQJWKHWKOHWWHURIWKHDOSKDEHW ³´LVDVWDQGLQIRU³&&´RU³&KULV

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 $JHQGDZLWKWKHDVVLVWDQFHRI3HLQRYLFK0RUHRYHU3HLQRYLFKDVVLVWHG&DQWZHOOLQKLV

 IXQGUDLVLQJE\GLVWULEXWLQJUHFRUGLQJVRISKRQHFDOOVIURPMDLOLQZKLFK&DQWZHOOPDNHVSOHDVIRU

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 ZLWK'HIHQGDQW6SHQFHURQ³5HG,FH79´WRVROLFLWGRQDWLRQV

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 VRWKURXJKDPRQJRWKHUWKLQJVXVLQJDQGHQFRXUDJLQJWKHXVHRIZHDSRQVDQGFDXVWLF

 VXEVWDQFHVPLOLWDU\VW\OHPDUFKHVEXUQLQJWRUFKHVLQWLPLGDWLQJLFRQRJUDSK\DQGWKUHDWVRI

 YLROHQFH7KH\GLGVRLQRUGHUWR D LQMXUHEODFNDQG-HZLVKUHVLGHQWVRI9LUJLQLDE\GHQ\LQJ

 WKHPWKHHTXDOSULYLOHJHVDQGLPPXQLWLHVRIFLWL]HQVKLSDQGWKHXVHEHQHILWVDQGSULYLOHJHVRI

 SURSHUW\DQGRUFRQWUDFWXDOUHODWLRQVKLSV E IXUWKHU'HIHQGDQWV¶FDXVHRIUHFUXLWLQJQHZ

 IROORZHUVWRHQJDJHLQUDFLDOUHOLJLRXVDQGHWKQLFDOO\PRWLYDWHGYLROHQFHUHIHUHQFHGDERYHERWK

 DWWKH8QLWHWKH5LJKW³UDOO\´DQGLQWKHIXWXUHDQG F FRPSHOWKHFLW\RI&KDUORWWHVYLOOHWR

 PDLQWDLQWKHVWDWXHRI5REHUW(/HHLQ(PDQFLSDWLRQ3DUNDVDPHDQVRIIXUWKHULQJWKHLU

 DIRUHPHQWLRQHGJRDOV

                 $OO'HIHQGDQWVZLWKWKHH[FHSWLRQRI'HIHQGDQW)LHOGVRQEHKDOIRIWKHPVHOYHV

 RUWKHRUJDQL]DWLRQVIRUZKLFKWKH\DUHDJHQWVSODQQHGDQGFRRUGLQDWHGWKH8QLWHWKH5LJKW

 ³UDOO\´HQFRXUDJHGDWWHQGDQFHDFWLYHO\RUJDQL]HGIROORZHUVWRDWWHQGFRRUGLQDWHGORJLVWLFDO

 VXSSRUWWRDWWHQGHHVSURPRWHGWKH³UDOO\´DVYLROHQWDQGHQFRXUDJHGDWWHQGHHVWRSUHSDUHIRU

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 DWWHQGDQFHDWWKH8QLWHWKH5LJKW³UDOO\´WRGLVFXVVDQGSURPRWHFDXVLQJKDUPWR-HZLVKSHRSOH

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 DFWVRIYLROHQFHLQWLPLGDWLRQDQGGHQLDORIHTXDOSURWHFWLRQIRUWKH8QLWHWKH5LJKWHYHQWV

                 'HIHQGDQWV&DQWZHOODQG.HVVOHUPHWLQSHUVRQLQ&KDUORWWHVYLOOHWRSODQ

 XQODZIXODFWVRIYLROHQFHLQWLPLGDWLRQDQGGHQLDORIHTXDOSURWHFWLRQIRUWKH8QLWHWKH5LJKW

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                 'HIHQGDQWV5D\&DQWZHOODQG0RVOH\DQGFRFRQVSLUDWRU'DYLG'XNHDWWHQGHG

 DQLQSHUVRQSODQQLQJPHHWLQJRQ$XJXVWWRSODQXQODZIXODFWVRIYLROHQFHLQWLPLGDWLRQDQG

 GHQLDORIHTXDOSURWHFWLRQDWWKH8QLWHWKH5LJKWHYHQWV

                 'HIHQGDQWV$QJOLQDQG5D\ XVLQJDPRQJRWKHUWKLQJV'DLO\6WRUPHU¶VZHEVLWH 

 +LOODQG(DVW&RDVW.QLJKWVRUJDQL]HGDQGFDXVHGRWKHUVWRDWWHQGWKH8QLWHWKH5LJKWHYHQWV

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                 'HIHQGDQWV1DWLRQDOLVW)URQW1607:3/HDJXHRIWKH6RXWK9DQJXDUG

 $PHULFD(DVW&RDVW.QLJKWVDQG³RWKHUDOOLHV´FRRUGLQDWHGWKHLUDWWHQGDQFHDVD³MRLQW

 RSHUDWLRQ´LQDGYDQFHRI$XJXVWLQRUGHUWRSODQXQODZIXODFWVRIYLROHQFHLQWLPLGDWLRQDQG

 GHQLDORIHTXDOSURWHFWLRQDWWKH8QLWHWKH5LJKWHYHQWV

                 'HIHQGDQW'DPLJRDQGKLVJURXS,GHQWLW\(YURSDWRRNDOHDGUROHLQRUJDQL]LQJ

 ZKLWHVXSUHPDFLVWSDUWLFLSDWLRQDPRQJSHRSOHIURPRXWVLGH&KDUORWWHVYLOOHWRHQJDJHLQXQODZIXO

 DFWVRIYLROHQFHLQWLPLGDWLRQDQGGHQLDORIHTXDOSURWHFWLRQDWWKH8QLWHWKH5LJKWHYHQWV

                 'HIHQGDQWV.HVVOHUDQG0RVOH\RUJDQL]HGWKH³UDOO\´DQGFRRUGLQDWHGORJLVWLFV

 DORQJZLWKFRFRQVSLUDWRU7\URQHIRUDWWHQGHHVRQ$XJXVWLQ&KDUORWWHVYLOOHVRWKDWWKH\

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                 'HIHQGDQW.HVVOHUDQG0RVOH\PRGHUDWHGUHYLHZHGDQGPDQDJHGWKH

 &KDUORWWHVYLOOHGLVFXVVLRQIRUXPRQWKHDSSOLFDWLRQQDPHG'LVFRUGWRGLUHFWDQGSODQXQODZIXO

 DFWVRIYLROHQFHLQWLPLGDWLRQDQGGHQLDORIHTXDOSURWHFWLRQDWWKH8QLWHWKH5LJKWHYHQWV

 $ORQJZLWK.HVVOHUDQG0RVOH\'HIHQGDQWV+HLPEDFK3DUURWW&DQWZHOO5D\DQDJHQWRI'DLO\

 6WRUPHU DQGKHQFH'HIHQGDQWV$QJOLQDQG0RRQEDVH+ROGLQJV DQGFRFRQVSLUDWRU7\URQH

 ZHUHDOOSDUWLFLSDQWVLQ'LVFRUGDQGLQWKHGLUHFWLRQSODQQLQJDQGLQFLWLQJRIVXFKXQODZIXODFWV

 WKURXJK'LVFRUGLQFOXGLQJWKHXVHRIZHDSRQVDQGREMHFWVWRLQIOLFWKDUPDQGLQWLPLGDWH

 'HIHQGDQWV9DQJXDUG$PHULFD,GHQWLW\(YURSD7:3/HDJXHRIWKH6RXWKDQG0RRQEDVH

 +ROGLQJV WKURXJK'DLO\6WRUPHU DOOKDGPHPEHUVRQWKH'LVFRUGFKDQQHO

                 'HIHQGDQWV&DQWZHOO5D\DQG$QJOLQDPRQJRWKHUVDGYLVHGUDOO\JRHUVRQ

 EULQJLQJZHDSRQV

                 8VLQJ'LVFRUG'HIHQGDQWV.HVVOHUDQG0RVOH\VHWXSDFKDQQHOIRUFR

 FRQVSLUDWRUVWRFRRUGLQDWHXQODZIXODFWVDWWKH8QLWHWKH5LJKWHYHQWVLQFOXGLQJDFWVRIYLROHQFH

 LQWLPLGDWLRQDQGGHQLDORIHTXDOSURWHFWLRQ

                 'HIHQGDQWV$QJOLQ5D\DQGWKURXJK'DLO\6WRUPHU0RRQEDVH+ROGLQJVVHWXS

 DFKDQQHOIRUFRFRQVSLUDWRUVWRFRRUGLQDWHXQODZIXODFWVLQFOXGLQJDFWVRIYLROHQFH

 LQWLPLGDWLRQDQGGHQLDORIHTXDOSURWHFWLRQDWWKH8QLWHWKH5LJKWHYHQWV

                 'HIHQGDQWV&DQWZHOO.HVVOHU0RVOH\$QJOLQ5D\DQGRWKHUVUDLVHGIXQGV

 SODQQHGIRUOHJDOVXSSRUWDQGDUUDQJHGWUDYHOIRUWKHSDUWLFLSDQWVZKRHQJDJHGLQXQODZIXODFWV

 RIYLROHQFHLQWLPLGDWLRQDQGGHQLDORIHTXDOSURWHFWLRQDWWKH8QLWHWKH5LJKWHYHQWV

                 'HIHQGDQWV,QYLFWXV.HVVOHU6SHQFHU&DQWZHOO+HLPEDFKDQG+LOOZHUH

 IHDWXUHGLQWKHSURPRWLRQDOSRVWHUIRUWKH8QLWHWKH5LJKW³UDOO\´



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                  'HIHQGDQWV&DQWZHOO0RVOH\6SHQFHU.HVVOHU5D\$QJOLQDQGFRFRQVSLUDWRUV

  SODQQHGDQGRUJDQL]HGD³VHFUHW´WRUFKSDUDGHDW89$IRU$XJXVWZLWKDSODQDQGLQWHQWWR

  LQWLPLGDWHWKUHDWHQDQGKDUDVV&KDUORWWHVYLOOHUHVLGHQWVSDUWLFXODUO\-HZVEODFNVDQGRWKHU

  PLQRULW\UHVLGHQWV

                  'HIHQGDQWV&DQWZHOO0RVOH\6SHQFHU.HVVOHU5D\DQG,QYLFWXVDWWHQGHGDQG

  SDUWLFLSDWHGLQWKHYLROHQW$XJXVWWRUFKSDUDGHDQGGLUHFWHGDQGLQFLWHGSK\VLFDODVVDXOWVDQG

  YLROHQFHWKHXVHRIRSHQIODPHVDQGWKHLQWLPLGDWLRQRIPLQRULW\UHVLGHQWVDQGWKRVHZKR

  DGYRFDWHIRUHTXDOULJKWVIRUPLQRULW\FLWL]HQV

                  'HIHQGDQW&DQWZHOODVVDXOWHGSHDFHIXOSURWHVWRUVZLWKPDFHDFDXVWLFVXEVWDQFH

  GXULQJWKH$XJXVWPDUFK

                  &RFRQVSLUDWRUVDWWHQGHGWKHWRUFKOLJKWPDUFKRQ$XJXVWDQGHQJDJHGLQDFWV

  RILQWLPLGDWLRQKDUDVVPHQWDQGYLROHQFH

                  $OO'HIHQGDQWVZLWKWKHH[FHSWLRQRI$QJOLQDWWHQGHGDQGSDUWLFLSDWHGLQWKH

  8QLWHWKH5LJKW³UDOO\´RQ$XJXVWGXULQJZKLFKWKH\WKUHDWHQHGLQWLPLGDWHGDQGKDUDVVHG

  SURWHVWRUVDQGPLQRULW\UHVLGHQWVDQGLQFLWHGDQGHQJDJHGLQYLROHQFH'HIHQGDQW)LHOGV

  DWWHQGHGZLWK9DQJXDUG$PHULFDZHDULQJWKHXQLIRUPZKLWHSRORDQGNKDNLVDQGFDUU\LQJD

  EODFNVKLHOGZLWKWKH9DQJXDUGORJR

                  $OO'HIHQGDQWVZLWKWKHH[FHSWLRQRI'HIHQGDQW)LHOGVGLUHFWHGDQGLQFLWHGDFWV

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                  &R&RQVSLUDWRUVDWWHQGHGWKH8QLWHWKH5LJKW³UDOO\´RQ$XJXVWDQGHQJDJHG

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                  'HIHQGDQW)LHOGVGHOLEHUDWHO\GURYHKLV'RGJH&KDOOHQJHULQWRDFURZGRI

  SHDFHIXOSURWHVWRUVRQ$XJXVWLQWHQGLQJWRLQVWLOOIHDULQWKHFRPPXQLW\DQGWRFDXVHLQMXULHV

  RQDPDVVVFDOH

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                     3ODLQWLIIVLQFRUSRUDWHKHUHLQE\UHIHUHQFHWKHDYHUPHQWVFRQWDLQHGLQDOOSUHFHGLQJ

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                     7KLV&RXQWLVEURXJKWDJDLQVWDOO'HIHQGDQWVE\DOO3ODLQWLIIVH[FHSWWKDW L 

  3ODLQWLII%DNHUDVVHUWVWKLVFODLPRQO\DJDLQVW'HIHQGDQWV.HVVOHU6SHQFHU&DQWZHOO)LHOGV

  9DQJXDUG$PHULFD5D\'DPLJR0RVOH\,GHQWLW\(YURSD+HLPEDFK3DUURWW7UDGLWLRQDOLVW

  :RUNHU3DUW\+LOO7XEEV/HDJXHRIWKH6RXWK6FKRHS1DWLRQDO6RFLDOLVW0RYHPHQWDQG

  1DWLRQDOLVW)URQWDQG LL 3ODLQWLII3HDUFHDVVHUWVWKLVFODLPRQO\DJDLQVW'HIHQGDQWV$QJOLQ

  0RRQEDVH+ROGLQJV//&(DVW&RDVW.QLJKWV)2$.,QYLFWXVDQG/R\DO:KLWH.QLJKWV

                  'HIHQGDQWVSORWWHGFRRUGLQDWHGDQGH[HFXWHGDFRPPRQSODQWRHQJDJHLQ

  YLROHQFHDQGLQWLPLGDWLRQLQWKHVWUHHWVRI&KDUORWWHVYLOOH

                  ,QIXUWKHUDQFHRIDFRQVSLUDF\WRYLRODWHWKHULJKWVRI3ODLQWLIIVDQGRWKHUEODFN

  DQG-HZLVKSHRSOHDQGWKHLUVXSSRUWHUV'HIHQGDQWVUHSHDWHGO\HQJDJHGLQFDPSDLJQVRI

  YLROHQFHWKUHDWVDQGLQWLPLGDWLRQDW/HH3DUNDQGWKURXJKRXWWKHFLW\RI&KDUORWWHVYLOOH

                  'HIHQGDQWVKDYHFRPPLWWHGQXPHURXVRYHUWDFWVLQIXUWKHUDQFHRIWKHFRQVSLUDF\

  WRYLRODWH3ODLQWLIIV¶ULJKWVZKLFKDUHVHWIRUWKLQWKHSDUDJUDSKVDERYH'HIHQGDQWVKDYHVRXJKW

  WRFUHDWHDQDWPRVSKHUHRIYLROHQFHDJDLQVW3ODLQWLIIVDQGWRYLRODWH3ODLQWLIIV¶HTXDOULJKWV

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  DFWVLQIXUWKHUDQFHRIWKHFRQVSLUDF\WRYLRODWH3ODLQWLIIV¶ULJKWVLQFOXGLQJWKRVHDOOHJHGKHUHLQ

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  FRFRQVSLUDWRUVDVH[SUHVVRYHUWDFWVSXUVXDQWWRDQXQODZIXOFRQVSLUDF\WKHSXUSRVHRIZKLFK

  ZDVDQGLVWRGLVFULPLQDWRULO\GHSULYHEODFN-HZLVKQRQZKLWHLQGLYLGXDOVDQGWKHLUZKLWH

  VXSSRUWHUVRIWKHLUULJKWVWRWKHHTXDOSURWHFWLRQRIWKHODZVDQGWKHLUULJKWVWRWKHHTXDO

  HQMR\PHQWRIWKHSULYLOHJHVDQGLPPXQLWLHVRIFLWL]HQVRIWKH8QLWHG6WDWHVJXDUDQWHHGE\WKH

  &RQVWLWXWLRQDQGODZVEHFDXVHRIWKHLUUDFHUHOLJLRQDQGRSHQDQGREYLRXVDGYRFDF\IRUWKH

  ULJKWVRIQRQZKLWHLQGLYLGXDOV

                  $VDUHVXOWRIWKHDFWVVHWRXWLQWKHDERYHSDUDJUDSKVFRPPLWWHGLQIXUWKHUDQFHRI

  WKLVFRQVSLUDF\3ODLQWLIIVVXIIHUHGLQMXULHVWRWKHLUSHUVRQRUSURSHUW\DQGRUVXIIHUHGWKH

  GLVFULPLQDWRU\GHSULYDWLRQRIRQHRUPRUHRIWKHLUULJKWVRUSULYLOHJHVJXDUDQWHHGE\WKH

  &RQVWLWXWLRQRUODZVEHFDXVHRIRQHRUPRUHRIWKHLOOHJDORYHUWDFWVRI'HIHQGDQWVDQGWKHLU

  DJHQWV7KHVHULJKWVLQFOXGHEXWDUHQRWOLPLWHGWRWKHLUULJKWVWREHIUHHRIWKHEDGJHVDQG

  LQFLGHQWVRIVODYHU\SXUVXDQWWRWKH7KLUWHHQWK$PHQGPHQWDVZHOODVWKHLUULJKWVSURWHFWHGE\

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                  %HFDXVHRI'HIHQGDQWV¶YLRODWLRQRI3ODLQWLIIV¶ULJKWV3ODLQWLIIVKDYHVXIIHUHG

  QXPHURXVDQGYDULRXVLQMXULHVLQFOXGLQJERGLO\LQMXU\LQMXULHVWRSURSHUW\ORVWLQFRPHDQG

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                  3ODLQWLIIVLQFRUSRUDWHKHUHLQE\UHIHUHQFHWKHDYHUPHQWVFRQWDLQHGLQDOOSUHFHGLQJ

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  3ODLQWLII%DNHUDVVHUWVWKLVFODLPRQO\DJDLQVW'HIHQGDQWV.HVVOHU6SHQFHU&DQWZHOO)LHOGV

  9DQJXDUG$PHULFD5D\'DPLJR0RVOH\,GHQWLW\(YURSD+HLPEDFK3DUURWW7UDGLWLRQDOLVW

  :RUNHU3DUW\+LOO7XEEV/HDJXHRIWKH6RXWK6FKRHS1DWLRQDO6RFLDOLVW0RYHPHQWDQG

  1DWLRQDOLVW)URQWDQG LL 3ODLQWLII3HDUFHDVVHUWVWKLVFODLPRQO\DJDLQVW'HIHQGDQWV$QJOLQ

  0RRQEDVH+ROGLQJV//&(DVW&RDVW.QLJKWV)2$.,QYLFWXVDQG/R\DO:KLWH.QLJKWV

                  'HIHQGDQWVDOOSRVVHVVHGDFWXDONQRZOHGJHRIWKH6HFWLRQ  DQWLFLYLOULJKWV

  FRQVSLUDF\GHVFULEHGLQWKLVFRPSODLQWWKDWZDVSODQQHGDQGWKHQXQGHUWDNHQDJDLQVWWKHFODVVRI

  $PHULFDQFLWL]HQVGHVFULEHG²LQFOXGLQJDQXPEHURIWKH3ODLQWLIIVQDPHGKHUHLQ

                  'HIHQGDQWVDVRUJDQL]HUVSODQQHUVSURPRWHUVDQGOHDGHUVRIWKHFRQVSLUDF\

  ZHUHHDFKLQDSRVLWLRQDQGKDGWKHSRZHUWRKDYHVWRSSHGWKHDQWLFLYLOULJKWVFRQVSLUDF\RUWR

  DLGLQVWRSSLQJLW

                  (DFKRIWKH'HIHQGDQWVIDLOHGDQGUHIXVHGWRWDNHDQ\VWHSVWRDWWHPSWWRVWRSWKLV

  FRQVSLUDF\RUDQ\RIWKHRYHUWDFWVFRPPLWWHGLQIXUWKHUDQFHRIWKHFRQVSLUDF\VRDVWRVWRSWKH

  LQMXULHVZKLFKRFFXUUHGWR3ODLQWLIIVRUWRRWKHUPHPEHUVRIWKHFODVVRIFLWL]HQVWDUJHWHGE\WKH

  DQWLFLYLOULJKWVFRQVSLUDF\GHVFULEHG

                  7KHIDLOXUHRI'HIHQGDQWVWRWDNHDQ\VWHSVWRDLGLQSUHYHQWLQJWKHDFWLRQV

  GHVFULEHGKHUHLQE\LQIRUPLQJWKHODZIXODXWKRULWLHVRURWKHUZLVHYLRODWHGWKHFRPPDQGRI

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                  3ODLQWLIIVVXIIHUHGWKHLULQMXULHVDVDUHVXOWRIWKHLQGLYLGXDO'HIHQGDQWV¶IDLOXUHWR

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                  3ODLQWLIIVLQFRUSRUDWHKHUHLQE\UHIHUHQFHWKHDYHUPHQWVFRQWDLQHGLQDOOSUHFHGLQJ

  SDUDJUDSKV

                  7KLV&RXQWLVEURXJKWDJDLQVWDOO'HIHQGDQWVE\DOO3ODLQWLIIVH[FHSWWKDW L 

  3ODLQWLII%DNHUDVVHUWVWKLVFODLPRQO\DJDLQVW'HIHQGDQWV.HVVOHU6SHQFHU&DQWZHOO)LHOGV

  9DQJXDUG$PHULFD5D\'DPLJR0RVOH\,GHQWLW\(YURSD+HLPEDFK3DUURWW7UDGLWLRQDOLVW

  :RUNHU3DUW\+LOO7XEEV/HDJXHRIWKH6RXWK6FKRHS1DWLRQDO6RFLDOLVW0RYHPHQWDQG

  1DWLRQDOLVW)URQWDQG LL 3ODLQWLII3HDUFHDVVHUWVWKLVFODLPRQO\DJDLQVW'HIHQGDQWV$QJOLQ

  0RRQEDVH+ROGLQJV//&(DVW&RDVW.QLJKWV)2$.,QYLFWXVDQG/R\DO:KLWH.QLJKWV

                  (DFK'HIHQGDQWFRQVSLUHGWRJHWKHUDQGFRPELQHGZLWKRQHRUPRUHRWKHUSHUVRQV

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